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                Exhibit 7
                 (Amended)
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


DDB Technologies L.L.C.,

               Plaintiff/Counterdefendant,               Civil Action No. A-11-cv-00929-LY

v.
                                                                   JURY DEMAND
Fox Sports Interactive Media, LLC,

               Defendant/Counterclaimant.




                         PROPOSED JURY INSTRUCTIONS




Text highlighted in blue is text that Defendant proposes and to which Plaintiff has not agreed.

Text highlighted in yellow is text that Plaintiff proposes and to which Defendant has not agreed.




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       Members of the Jury:

       Now that you have been sworn, I have the following preliminary instructions for your

guidance on the nature of the case and your role as jurors.

                               PRELIMINARY INSTRUCTIONS

I.     WHAT A PATENT IS AND HOW ONE IS OBTAINED

       This case involves a dispute relating to four United States patents. Before summarizing

the positions of the parties and the issues involved in the dispute, let me take a moment to

explain what a patent is and how one is obtained.

       Patents are granted by the United States Patent and Trademark Office (sometimes called

“the PTO”). A valid United States patent gives the patent holder the right to prevent others from

making, using, offering to sell, or selling the patented invention within the United States, or from

importing into the United States, without the patent holder’s permission, until the expiration of

the patent. A violation of the patent holder’s rights is called infringement. The patent holder may

try to enforce a patent against persons believed to be infringers by a lawsuit filed in federal court.

       The process of obtaining a patent is called patent prosecution. To obtain a patent, one

must first file an application with the PTO. The PTO is an agency of the Federal Government

and employs trained Examiners who review applications for patents. The application includes

what is called a specification, which contains a written description of the claimed invention

telling what the invention is, how it works, how to make it, and how to use it. The specification

concludes with one or more numbered sentences. These are the patent claims. When the patent is

eventually granted by the PTO, the claims define the boundaries of its protection and give notice

to the public of those boundaries.

       After the applicant files the application, an Examiner reviews the application to

determine whether or not the claims are patentable (qualified for patent protection) and whether


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or not the specification adequately describes the invention claimed. In examining a patent

application, the Examiner reviews certain information about the state of the technology at the

time the application was filed. The PTO searches for and reviews information that is publicly

available or that is submitted by the applicant. This information is called prior art. The Examiner

reviews this prior art to determine whether or not the invention is truly an advance over the state

of the art at the time. Prior art is defined by law, and I will give you, at a later time during these

instructions, specific instructions as to what constitutes prior art. However, in general, prior art

includes information that demonstrates the state of technology that existed before the claimed

invention was made or before the application was filed. A patent lists the prior art that the

Examiner considered; this list is called the cited references.

       After the prior art search and examination of the application, the Examiner informs the

applicant in writing of what the Examiner has found and whether the Examiner considers any

claim to be patentable and, thus, would be allowed. This writing from the Examiner is called an

Office Action. If the Examiner rejects the claims, the applicant has the opportunity to respond to

the Examiner to try to persuade the Examiner to allow the claims, and to change the claims or to

submit new claims. This process may go back and forth for some time until the Examiner is

satisfied that the application meets the requirements for a patent and the application issues as a

patent, or that the application should be rejected and no patent should issue. The papers

generated during these communications between the Examiner and the applicant are called the

prosecution history.

       Once a patent is issued by the PTO, it is presumed to be valid. However, a person

accused of infringement has the right to argue here in federal court that a claimed invention in

the patent is invalid because it does not meet the requirements for a patent. The fact that the PTO




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grants a patent does not necessarily mean that any invention claimed in the patent, in fact,

deserves the protection of a patent. For example, the PTO may not have had available to it all

other prior art that will be presented to you. It is your job to consider the evidence presented by

the parties and determine independently whether or not Fox Sports Interactive Media has proven

that the patent is invalid.1

II.      PATENTS AT ISSUE

         The parties in this case are DDB Technologies and Fox Sports Interactive Media. The

case involves four United States patents obtained by inventors David Barstow and Daniel

Barstow and currently owned by DDB Technologies. Those four patents are U.S. Patent No.

5,526,479, U.S. Patent No. 5,671,347, U.S. Patent No. 6,204,862, and U.S. Patent No. 7,373,587.

For your convenience, the parties and I will often refer to the patent numbers by the last three

numbers of the patent number, namely, as the “‘479 patent,” the “‘347 patent,” the “‘862 patent,”

and the “‘587 patent.” When referring to this entire group of patents, the parties and I will often

refer to them as the DDB Patents.

         Copies of each of the DDB Patents have been placed in your notebooks. In addition, I

have already determined the meaning of the claims of the DDB patents. For any claim term for

which I have not provided you with a definition, you should apply the ordinary meaning. You

have been given a chart that reflects my order determining those meanings in your notebook.2

1
 The Federal Circuit Bar Association Model Patent Jury Instructions (“FCBA”) (2013), Preliminary Instruction A.1
(modified).
2
  FSIM objects to the constructions of the following terms: “an action involving physical exertion and skill,”
“broadcasting,” “creating a set of symbols useful in a computer simulation,” “generating a sequence of symbolic
descriptions,” and “representing at least one of the sub-events.” FSIM proposes the following instructions for these
claims terms: “The term ‘broadcasting’ means ‘One-way transmission of the same data simultaneously to multiple
viewer computers.’ The term ‘creating a set of symbols useful in a computer simulation’ means ‘creating a set of
symbols to be entered by an observer of the live event, for use in a computer simulation program.’ The term
‘generating a sequence of symbolic descriptions’ means ‘generating, by the observer of the live event, a sequence of
symbolic descriptions.’ The term ‘representing at least one of the sub-events by at least on action type’ means
‘representing, by the observer of the live event, at least on action type.’” ” FSIM asserts that these constructions are


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You are to apply my definitions of these terms throughout the case. However, my interpretation

of the language of the claims should not be taken as an indication that I have a view regarding

issues such as infringement and invalidity. Those issues are yours to decide. I will provide you

with more detailed instructions on the meaning of the claims before you retire to deliberate your

verdict.3

III.      OVERVIEW OF APPLICABLE LAW

          In deciding the issues I just discussed, you will be asked to consider specific legal

standards. I will give you an overview of those standards now and will review them in more

detail before the case is submitted to you for your verdict.

          The first issue you will be asked to decide is whether Fox Sports Interactive Media has

infringed the claims of the DDB patents. Infringement is assessed on a claim-by-claim basis.

Therefore, there may be infringement as to one claim but not infringement as to another. There

are a few different ways that a patent may be infringed. I will explain the requirements for each

of these types of infringement to you in detail at the conclusion of the case. In general, however

Fox Sports Interactive Media may infringe the DDB patents by making, using, selling, or

offering for sale in the United States, or by importing into the United States, a product or by

using a method meeting all the requirements of a claim of the DDB patents. Fox Sports

Interactive Media may also indirectly infringe the DDB patents by inducing another person or




appropriate for the same reasons given in its Opening Claim Construction Brief (Dkt. 38) and Responsive Claim
Construction Brief (Dkt. 43). FSIM recognizes that the Court has already construed the claims in this case, and
proposes this jury instruction in order to preserve error. In addition, FSIM continues to assert that the term “an
action involving physical exertion and skill” is indefinite for the reasons set forth in FSIM’s Motion for Summary
Judgment of Indefiniteness (Dkt. 34) and FSIM’s Reply in Support of its Motion for Summary Judgment of
Indefiniteness (Dkt. 42). FSIM recognizes that the Court has already ruled on FSIM’s argument, and merely objects
to this jury instruction in order to preserve error.
3
    FCBA A.4 (modified).



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entity to infringe. I will provide you with more detailed instructions on the requirements for each

of these types of infringement at the conclusion of the case.

       Another issue you will be asked to decide is whether the DDB patents are invalid. A

patent may be invalid for a number of reasons, including because it claims subject matter that is

not new or is obvious. For a claim to be invalid because it is not new, Fox Sports Interactive

Media must show, by clear and convincing evidence, that all of the elements of a claim are

present in a single previous device or method, or sufficiently described in a single previous

printed publication or patent. We call these “prior art.” If a claim is not new, it is said to be

anticipated.

       Another way that a claim may be invalid is that it may have been obvious. Even though

every element of a claim is not shown or sufficiently described in a single piece of “prior art,”

the claim may still be invalid if it would have been obvious to a person of ordinary skill in the

field of technology of the patent at the relevant time. You will need to consider a number of

questions in deciding whether the invention(s) claimed in the DDB patents are obvious. I will

provide you detailed instructions on these questions at the conclusion of the case.

       If you decide that any claim of the DDB patents has been infringed and is not invalid, you

will then need to decide any money damages to be awarded to DDB to compensate it for the

infringement. A damages award should put DDB in approximately the same financial position

that it would have been in had the infringement not occurred, but in no event may the damages

award be less than what DDB would have received had it been paid a reasonable royalty. I will

instruct you later on the meaning of a reasonable royalty. The damages you award are meant to

compensate DDB and not to punish Fox Sports Interactive Media. You may not include in your

award any additional amount as a fine or penalty, above what is necessary to compensate DDB




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for the infringement, in order to punish Fox Sports Interactive Media. I will give you more

detailed instructions on the calculation of damages at the conclusion of the case.

IV.        SUMMARY OF CONTENTIONS

           To help you follow the evidence, I will now give you a summary of the positions of the

parties.

           DDB Technologies (“DDB”) filed suit in this court seeking money damages from Fox

Sports Interactive Media for allegedly infringing the DDB patents by using the methods of the

DDB patents to provide [live game simulation] [various accused] products.

           The products that are alleged to infringe are: the Pre-June 25, 2010 GameTrax webpages

for football and baseball provided through the Fox Sports Interactive Media website; the Pre-

June 25, 2010 Fox Sports Interactive Media Scoreboard webpages for baseball provided through

the Fox Sports Interactive Media website; the Pre-June 25, 2010 Scorestrip for baseball provided

through the Fox Sports Interactive Media website; and the Pre-June 25, 2010 GameTrax pages

for baseball and football provided through Fox Sports Interactive Media’s iPhone mobile

application.

           Fox Sports Interactive Media denies that it has infringed any claims of the DDB patents.

Fox Sports Interactive Media also argues that the claims of the DDB patents are invalid. I will

instruct you later as to the ways in which a patent may be invalid. In general, however, a patent is

invalid if it is not new or is obvious in view of the state of the art at the relevant time.

           In addition, Fox Sports Interactive Media argues that the DDB patents are unenforceable

because the patent applicants committed inequitable conduct while prosecuting the patent

applications in the Patent Office. Fox Sports Interactive Media also argues that DDB may not

recover damages for activities occurring before this lawsuit under the doctrine of laches and that

DDB is precluded from enforcing its patents against Fox Sports Interactive Media under the


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doctrine of equitable estoppel. Finally, Fox Sports Interactive Media contends that DDB is

precluded from recovering damages for some of Fox Sports Interactive Media’s products under

the doctrine of patent exhaustion. I will instruct you on these doctrines at a later time.

          Your job will be to decide whether or not the claims of the DDB patents have been

infringed and whether or not those claims are invalid. If you decide that any claim of the DDB

patents has been infringed and is not invalid, you will then need to decide any money damages to

be awarded to DDB to compensate it for the infringement. You will also need to make a finding

as to whether or not the infringement was willful. If you decide that any infringement was

willful, that decision should not affect any damages award you give. I will take willfulness into

account later.4

V.        OUTLINE OF TRIAL

          The trial will now begin. First, each side may make an opening statement. An opening

statement is not evidence. It is simply an opportunity for the lawyers to explain what they expect

the evidence will show.

          There are two standards of proof that you will apply to the evidence, depending on the

issue you are deciding. On some issues, you must decide whether certain facts have been proven

by a preponderance of the evidence. A preponderance of the evidence means that the fact that is

to be proven is more likely true than not, i.e., that the evidence in favor of that fact being true is

sufficient to tip the scale, even if slightly, in its favor. On other issues that I will identify for you,

you must use a higher standard and decide whether the fact has been proven by clear and

convincing evidence, i.e., that you have been left with a clear conviction that the fact has been

proven.


4
    FCBA A.3 (modified)



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       These standards are different from what you may have heard about in criminal

proceedings where a fact must be proven beyond a reasonable doubt. On a scale of these various

standards of proof, as you move from preponderance of the evidence, where the proof need only

be sufficient to tip the scale in favor of the party proving the fact, to beyond a reasonable doubt,

where the fact must be proven to a very high degree of certainty, you may think of clear and

convincing evidence as being between the two standards.

       After the opening statements, DDB will present its evidence in support of its contention

that some of the claims of the DDB patents have been infringed by Fox Sports Interactive Media

and that the infringement has been willful. To prove infringement of any claim, DDB must

persuade you that it is more likely than not that Fox Sports Interactive Media has infringed that

claim. To persuade you that any infringement was willful, DDB must prove that the infringement

was willful by clear and convincing evidence.

       Fox Sports Interactive Media will then present its evidence that the claims of the DDB

patents are invalid and/or unenforceable. To prove invalidity and/or unenforceability of any

claim, Fox Sports Interactive Media must persuade you by clear and convincing evidence that

the claim is invalid and/or unenforceable. In addition to presenting its evidence of invalidity

and/or unenforceability, Fox Sports Interactive Media will present evidence of other defenses,

including laches, exhaustion, and estoppel. Fox Sports Interactive Media will also present

evidence responding to DDB’s evidence of infringement and willfulness.

       DDB may then present additional evidence responding to Fox Sports Interactive Media’s

evidence that the claims of the DDB patents are invalid and/or unenforceable, and to offer any

additional evidence of infringement and willfulness. This is referred to as “rebuttal” evidence.




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DDB’s “rebuttal” evidence may respond to any evidence offered by Fox Sports Interactive

Media.

          Finally, Fox Sports Interactive Media may have the option to present its “rebuttal”

evidence to support its contentions as to the validity and/or unenforceability of the claims of the

DDB patents by responding to any evidence offered by DDB on that issue.

          After the evidence has been presented, the attorneys will make closing arguments and I

will give you final instructions on the law that applies to the case. These closing arguments by

the attorneys are not evidence. After the closing arguments and instructions, you will then decide

the case.5

                                     FINAL INSTRUCTIONS

I.        GENERAL INSTRUCTIONS FOR THE JURY

          You have heard the evidence in this case and in a moment you will hear the arguments of

the lawyers for the parties, but first, I will instruct you on the law that you must apply. It is your

duty to follow the law as I give it to you. On the other hand, you the jury are the judges of the

facts. Do not consider any statement that I have made in the course of trial or make in these

instructions as an indication that I have any opinion about the facts of this case.

          After I instruct you on the law, the lawyers will have an opportunity to make their closing

arguments. Statements and arguments of the lawyers are not evidence and are not instructions on

the law. They are intended only to assist the jury in understanding the evidence and the parties’

contentions.




5
    FCBA A.5 (modified).



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        You will be given questions to answer concerning the issues in this case. Answer each

question from the facts as you find them. Do not decide who you think should win and then

answer the questions accordingly. Your answers and your verdict must be unanimous.

        A.      Consideration of the Evidence

        You must consider only the evidence in this case. However, you may draw such reasonable

inferences from the testimony and exhibits as you feel are justified in the light of common

experience. You may make deductions and reach conclusions that reason and common sense lead

you to make from the testimony and evidence.

        There are two types of evidence you may consider. One is direct evidence—such as

testimony of an eyewitness. The other is indirect or circumstantial evidence—the proof of

circumstances that tend to prove or disprove the existence or nonexistence of certain other facts. The

law makes no distinction between direct and circumstantial evidence, but simply requires that you

find the facts from the evidence, both direct and circumstantial.

        In determining whether any fact has been proved in the case, you may, unless otherwise

instructed, consider the testimony of all witnesses, regardless of who may have called them, and all

exhibits received in evidence, regardless of who may have produced them. The testimony of a single

witness may be sufficient to prove any fact, even if a greater number of witnesses may have testified

to the contrary, if after considering all the other evidence you believe that single witness.

You are the sole judges of the credibility or believability of each witness and the weight to be given

the witness's testimony. An important part of your job will be making judgments about the testimony

of the witnesses who testified in this case. You should decide whether you believe what each person

had to say and how important that testimony was. In making that decision, and in determining the

weight to give to the testimony of a witness, I suggest you ask yourself a few questions: Did the

person impress you as honest? Did the witness have any particular reason not to tell the truth? Did




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the witness have a personal interest in the outcome of the case? Did the witness have any

relationship with any party to the case? Did the witness have a good memory? Did the witness

have the opportunity and ability to understand the questions clearly and answer them directly?

Did the witness's testimony differ from the testimony of other witnesses? These are a few

considerations that may help you determine the accuracy of what each witness said.

       B.      Evidence in the Case

       If a lawyer asked a witness a question that contained an assertion of fact, you may not

consider the lawyer’s assertion as evidence of that fact. The lawyers’ statements are not

evidence. When, however, the lawyers on both sides stipulate or agree as to the existence of a

fact, the jury must, unless otherwise instructed, accept the stipulation and regard the fact as

proved.

       Unless you are otherwise instructed, the evidence in this case always consists of the

sworn testimony of the witnesses, regardless of who may have called them; all exhibits received

in evidence, regardless of who may have produced them; and all facts which may have been

admitted or stipulated.

       Any evidence as to which an objection was sustained by the court, any evidence ordered

stricken by the court, and any testimony, exhibit, or conduct that the court has instructed you to

disregard must not be considered by you and must not be used for any purpose in reaching your

verdict.

       C.      Evidence for a Limited Purpose

       During the course of this trial I may have instructed you that I admitted certain evidence

for a limited purpose or that you may consider some testimony as evidence against one party but




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not against another or for a certain purpose and not for others. You may consider such evidence

only for the specific limited purpose for which it was admitted.

       D.      All Available Evidence Need Not Be Produced

       The law does not require any party to call as witnesses all persons who may have been

present at any time or place involved in the case or who may appear to have some knowledge of

the matters in issue at this trial. Nor does the law require any party to produce as exhibits all

papers and things mentioned in the evidence in the case.

       E.      Deposition Testimony

       The testimony of a witness who, for some reason, cannot be present to testify from the

witness stand may be presented under oath, in the form of a deposition. A deposition is the

sworn, recorded answers to questions asked of a witness in advance of the trial. During the trial

of this case, certain deposition testimony has been presented to you by video recording or the

reading of such deposition testimony. Such testimony is entitled to the same consideration and is

to be judged as to credibility, weighed, and otherwise considered by you, insofar as possible, in

the same way as if the witness had been present and had testified from the witness stand in court.

       F.      Expert Witness

       When knowledge of a technical matter may be helpful to the jury, a witness who has

special experience or training is permitted to testify and state an opinion concerning such

technical matters. Merely because an expert witness has expressed an opinion does not mean you

must accept the opinion. As with any other witness, it is up to you to determine the credibility or

believability of the expert witness and the weight to be given the expert's testimony. You may decide

to rely on the expert's testimony or to disregard that testimony completely.




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        G.      Impeachment by Witnesses’ Inconsistent Statements

        In determining the weight to give to the testimony of a witness, you should ask yourself

whether there was evidence tending to prove that the witness testified falsely about some important

fact, or whether there was evidence that at some other time the witness said or did something or

failed to say or do something, that was different from the testimony the witness gave at this trial.

        You should remember that a simple mistake by a witness does not necessarily mean that the

witness was not telling the truth. People may tend to forget some things or remember other things

inaccurately. If a witness has made a misstatement, you must consider whether it was simply an

innocent lapse of memory or an intentional falsehood, and that may depend upon whether it concerns

an important fact or an unimportant detail.

        H.      Corporate Party Involved

        Do not let bias, prejudice or sympathy play any part in your deliberations. A corporation and

all other persons are equal before the law and must be treated as equals in a court of justice.

        A corporation can act only through people who are its agents or employees. In general, a

corporation is responsible under the law for any of the acts and statements of its employees or agents

that are made within the scope of their duties as employees or agents of the corporation.

        I.      Use of Notes Taken by Jurors

        Any notes that you have taken during this trial are only aids to your memory. If your

memory differs from your notes, you should rely on your memory and not on the notes. The

notes are not evidence. If you have not taken notes, you should rely on your independent

recollection of the evidence and should not be unduly influenced by the notes of other jurors.

Notes are not entitled to any greater weight than the recollection or impression of each juror

about the testimony.




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        J.      Burden of Proof

        There are two standards of proof that you will apply to the evidence, depending on the

issue you are deciding. On some issues, you must decide whether certain facts have been proven

by a preponderance of the evidence. A preponderance of the evidence means that the fact that is

to be proven is more likely true than not, i.e., that the evidence in favor of that fact being true is

sufficient to tip the scale, even if slightly, in its favor. On other issues that I will identify for you,

you must use a higher standard and decide whether the fact has been proven by clear and

convincing evidence, i.e., that you have been left with a clear conviction that the fact has been

proven.

        These standards are different from what you may have heard about in criminal

proceedings where a fact must be proven beyond a reasonable doubt. On a scale of these various

standards of proof, as you move from preponderance of the evidence, where the proof need only

be sufficient to tip the scale in favor of the party proving the fact, to beyond a reasonable doubt,

where the fact must be proven to a very high degree of certainty, you may think of clear and

convincing evidence as being between the two standards.

        In determining whether any fact has been proved by the applicable burden of proof in this

case, unless otherwise instructed, you may consider the testimony of all witnesses, regardless of

who may have called them, and all exhibits received in evidence, regardless of who may have

produced them.

        If the proof fails to establish any essential part of the party's claim, counterclaim, or

affirmative defense by the applicable burden of proof, you should find for the other party as to

that claim, counterclaim, or affirmative defense.




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II.    SUMMARY OF CONTENTIONS

       As I did at the start of the case, I will first give you a summary of each side’s contentions

in this case. I will then provide you with detailed instructions on what each side must prove to

win on each of its contentions.

       DDB Technologies (“DDB”) filed suit in this court seeking money damages from Fox

Sports Interactive Media Interactive Media for allegedly infringing the DDB patents by using the

methods of the DDB patents to provide [live game simulation] [various accused] products

through its website and mobile applications.

       The products that are alleged to infringe are: the GameTrax webpages for football and

baseball provided through the Fox Sports Interactive Media website; the Scoreboard webpages

for baseball provided through the Fox Sports Interactive Media website; the Scorestrip for

baseball provided through the Fox Sports Interactive Media website; and the GameTrax pages

for baseball and football provided through Fox Sports Interactive Media’s iPhone mobile

application.

       Fox Sports Interactive Media denies that it has infringed claims of the DDB patents. Fox

Sports Interactive Media also argues that the claims of the DDB patents are invalid. I will

instruct you later as to the ways in which a patent may be invalid. In general, however, a patent is

invalid if it is not new or is obvious in view of the state of the art at the relevant time, or if the

description in the patent does not meet certain requirements.

       In addition, Fox Sports Interactive Media argues that the DDB patents are unenforceable

because the patent applicants committed inequitable conduct while prosecuting the patent

applications in the Patent Office. Fox Sports Interactive Media also argues that DDB may not

recover damages for activities occurring before this lawsuit under the doctrine of laches and that

DDB is precluded from enforcing its patents against Fox Sports Interactive Media under the


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doctrine of equitable estoppel. Finally, Fox Sports Interactive Media contends that DDB is

precluded from recovering damages for some of Fox Sports Interactive Media’s products under

the doctrine of patent exhaustion. I will instruct you on these doctrines at a later time.

          Your job will be to decide whether or not the claims of the DDB patents have been

infringed and whether or not those claims are invalid. If you decide that any claim of the DDB

patents has been infringed and is not invalid, you will then need to decide any money damages to

be awarded to DDB to compensate it for the infringement. You will also need to make a finding

as to whether or not the infringement was willful. If you decide that any infringement was

willful, that decision should not affect any damages award you give. I will take willfulness into

account later.6

III.      THE ROLE OF THE CLAIMS OF A PATENT

          Before you decide many of the issues in this case, you will need to understand the role of

patent claims. The patent claims are the numbered sentences at the end of each patent. The

claims are important because it is the words of the claims that define what a patent covers. The

figures and text in the rest of the patent provide a description and/or examples of the invention

and provide a context for the claims, but it is the claims that define the breadth of the patent’s

coverage. Each claim is effectively treated as if it were a separate patent, and each claim may

cover more or less than another claim. Therefore, what a patent covers depends, in turn, on what

each of its claims cover.

          You will first need to understand what each claim covers in order to decide whether or

not there is infringement of the claim and to decide whether or not the claim is invalid. The law

says that it is my role to define the terms of the claims and it is your role to apply my definitions


6
    FCBA B.1 (modified).



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to the issues that you are asked to decide in this case. Therefore, as I explained to you at the start

of the case, I have determined the meaning of the claims and I will provide to you my definitions

of certain claim terms. You must accept my definitions of these words in the claims as being

correct. It is your job to take these definitions and apply them to the issues that you are deciding,

including the issues of infringement and validity.7

IV.       HOW A CLAIM DEFINES WHAT IT COVERS

          I will now explain how a claim defines what it covers.

          A claim sets forth, in words, a set of requirements. Each claim sets forth its requirements

in a single sentence. If a device or a method satisfies each of these requirements, then it is

covered by the claim.

          There can be several claims in a patent. Each claim may be narrower or broader than

another claim by setting forth more or fewer requirements. The coverage of a patent is assessed

claim-by-claim. In patent law, the requirements of a claim are often referred to as claim elements

or claim limitations. When a thing (such as a product or a process) meets all of the requirements

of a claim, the claim is said to cover that thing, and that thing is said to fall within the scope of

that claim. In other words, a claim covers a product or process where each of the claim elements

or limitations is present in that product or process.

          Sometimes the words in a patent claim are difficult to understand, and therefore it is

difficult to understand what requirements these words impose. It is my job to explain to you the

meaning of the words in the claims and the requirements these words impose.

          As I just instructed you, there are certain specific terms that I have defined and you are to

apply those definitions that I provide to you.


7
    FCBA B.2.1.



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          By understanding the meaning of the words in the claim and by understanding that the

words in a claim set forth the requirements that a product or process must meet in order to be

covered by that claim, you will be able to understand the scope of coverage for each claim. Once

you understand what each claim covers, then you are prepared to decide the issues that you will

be asked to decide, such as infringement and invalidity.8

V.        INDEPENDENT AND DEPENDENT CLAIMS

          This case involves two types of patent claims: independent and dependent claims.

          An independent claim sets forth all of the requirements that must be met in order to be

covered by that claim. Thus, it is not necessary to look at any other claim to determine what an

independent claim covers. In this case claim 1 of the ’479 patent, claim 1 of the ’347 patent,

claim 1 of the ’862 patent, and claim 5 of the ’587 patent are each independent claims.

          The remainder of the claims of the DDB patents are dependent claims. A dependent

claim does not itself recite all of the requirements of the claim but refers to another claim for

some of its requirements. In this way, the claim “depends” on another claim. A dependent claim

then adds its own additional requirements. To determine what a dependent claim covers, it is

necessary to look at both the dependent claim and any other claims to which it refers. A product

or process that meets all of the requirements of both the dependent claim and the claims to which

it refers is covered by the dependent claim.9

VI.       CLAIM INTERPRETATION

          At the beginning of the trial, I explained to you the meaning of some of the words of the

claims in this case. As I have previously instructed you, you must accept my definition of these


8
    FCBA B.2.2.
9
    FCBA B.2.2a



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words in the claims as correct. For any words in the claim for which I have not provided you

with a definition, you should apply their common meaning. You should not take my definition of

the language of the claims as an indication that I have a view regarding how you should decide

the issues that you are being asked to decide, such as infringement and invalidity. These issues

are yours to decide.10

                                              INFRINGEMENT

I.      INFRINGEMENT – GENERALLY

        I will now instruct you as to the rules you must follow when deciding whether DDB has

proven that Fox Sports Interactive Media infringed any of the claims of the DDB patents.

        Patent law gives the owner of a valid patent the right to exclude others from importing,

making, using, offering to sell or selling the patented invention within the United States during

the term of the patent. Any person or business entity that has engaged in any of those acts

without the patent owner’s permission infringes the patent.

        A patent may be infringed directly or indirectly. Direct infringement results if the accused

infringer commits all acts necessary to infringe at least one claim of the patent either personally

or through another party acting under the accused infringer’s direction or control. Indirect

infringement results if the accused infringer has knowledge of the patent, commits some of the

acts necessary to infringe at least one claim of the patent, [had knowledge of the patent, and then

knowingly induces another party to commit the remaining acts necessary to infringe that claim]



10
   FCBA B.2.3; Markman v. Westview Instruments, Inc., 517 U.S. 370 (1996) (claim construction of a patent,
including claim terms, is exclusively within the province of the court); Phillips v. AWH Corp., 415 F.3d 1303, 1312-
13 (Fed. Cir. 2005) (en banc) (“ordinary and customary meaning” is based on the understanding of a person of
ordinary skill in the art in question at the time of the invention); Pitney Bowes, Inc. v. Hewlett-Packard Co., 182
F.3d 1298, 1304 (Fed. Cir. 1999) (claim construction is a question of law reviewed de novo); Cybor Corp. v. FAS
Techs., 138 F.3d 1448, 1456 (Fed. Cir. 1998) (same); Markman v. Westview Instruments, Inc., 52 F.3d 967, 977
(Fed. Cir. 1995) (in jury cases, court has obligation to construe claim terms).



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[intentionally induces another party to commit the remaining acts necessary to infringe that

claim, and knows that those acts constitute infringement].11

II.  DIRECT INFRINGEMENT – KNOWLEDGE OF PATENT OR INTENT TO
INFRINGE IS IMMATERIAL

        In this case, DDB asserts that Fox Sports Interactive Media has directly infringed the

DDB patents. Fox Sports Interactive Media would be liable for directly infringing the DDB

patents if you find that DDB has proven that it is more likely than not that Fox Sports Interactive

Media has used the invention defined in at least one claim of the DDB patents.

        Someone can directly infringe a patent without knowing that what they are doing is an

infringement of the patent. They also may directly infringe a patent even though they believe in

good faith that what they are doing is not an infringement of any patent.12

III.    DIRECT INFRINGEMENT – LITERAL INFRINGEMENT

        One form of direct infringement is literal infringement. In order to prove literal

infringement, DDB must prove that it is more likely than not that [the accused Fox Sports

Interactive Media products literally meet all of the requirements of the claim] [Fox Sports

Interactive Media performs each and every element of the asserted claims]. To determine literal

infringement, you must compare each of the accused Fox Sports Interactive Media products with

each claim that DDB asserts is infringed, using my instructions as to the meaning of the patent

claims. If [the accused product does not contain] [Fox Sports Interactive Media does not
11
   AIPLA Model Jury Instructions (“AIPLA”) (2008), Infringement Instruction 3.0 (modified); 35 U.S.C. § 271;
Move, Inc. v. Real Estate Alliance Ltd., 709 F.3d 1117, 1123 (Fed. Cir. 2013);Akamai Technologies, Inc. v.
Limelight Networks, Inc., 692 F.3d 1301, 1305-1307, 1318 (Fed. Cir. 2012); Seal-Flex, Inc. v. Athletic Track &
Court Constr., 172 F.3d 836, 842 (Fed. Cir. 1999). Cybor Corp. v. FAS Techs., Inc., 138 F.3d 1448, 1454
(Fed.Cir.1998) (en banc); Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed.Cir.1995) (en banc),
aff'd,517 U.S. 370 (1996).
12
   AIPLA Model Jury Instructions (2008), Infringement Instruction 3.1 (modified); 35 U.S.C. § 271(a); BMC
Resources v. Paymentech, L.P., 498 F.3d 1373, 1381 (Fed. Cir. 2007); DeMarini Sports, Inc. v. Worth, Inc., 239
F.3d 1314, 1330 (Fed. Cir. 2001); Seal-Flex, Inc. v. Athletic Track & Court Constr., 172 F.3d 836, 842 (Fed. Cir.
1999); SmithKline Diagnostics, Inc. v. Helena Labs. Corp., 859 F.2d 878, 889 (Fed. Cir. 1988).



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perform] one or more steps recited in a claim, Fox Sports Interactive Media does not literally

infringe that claim.

        You must determine literal infringement with respect to each patent claim individually.

        The accused Fox Sports Interactive Media products should be compared to the invention

defined in each patent claim it is alleged to infringe, not to DDB's preferred embodiment of the

invention described in the specification. The same feature of the accused Fox Sports Interactive

Media product may satisfy more than one element of a claim.13

IV.  DIRECT INFRINGEMENT – [ACTS OF MULTIPLE PARTIES MUST BE
COMBINED TO MEET ALL CLAIM LIMITATIONS] [ MULTIPLE ALLEGED
INFRINGERS]

        [Direct infringement requires that a party perform or use every step of a claimed method.

Where no single party performs all of the steps of a claimed method but more than one party

performs every step of the method, the claim is directly infringed if one party has control over

the entire method so that the steps are attributable to the controlling party. Mere arms-length

cooperation between parties is insufficient to prove direct infringement.]

        [OR]

        [Where an accused infringer does not personally perform all of the steps of a claimed

method, the accused infringer will still be liable for direct infringement if the remaining steps are

performed by another party that is under the accused infringer’s direction or control. While mere

arms-length cooperation between parties is insufficient to prove direct infringement, an agency




13
  AIPLA Model Jury Instructions (2008), Infringement Instruction 3.2 (modified); The Federal Circuit Bar
Association Model Patent Jury Instructions (2013), Infringement Instruction B.3.1a (modified); BMC Resources v.
Paymentech, L.P., 498 F.3d 1373, 1381-82 (Fed. Cir. 2007); DeMarini Sports, Inc. v. Worth, Inc., 239 F.3d 1314,
1330-31 (Fed. Cir. 2001); Gen. Mills, Inc. v. Hunt-Wesson, Inc., 103 F.3d 978, 981 (Fed. Cir. 1997); Martin v.
Barber, 755 F.2d 1564, 1567 (Fed. Cir. 1985); Amstar Corp. v. Envirotech Corp., 730 F.2d 1476, 1481-82 (Fed. Cir.
1984).



                                                       22
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relationship, or some equivalent, between the accused infringer and the other party is sufficient

to prove direct infringement.]

         DDB alleges that Fox Sports Interactive Media and STATS collectively infringe the

claims of the DDB patents.

         For infringement to be proved, DDB must prove that it is more likely than not that for

those steps not personally performed by Fox Sports Interactive Media, such steps are performed

by STATS: (1) in the United States and (2) under the control or direction of Fox Sports

Interactive Media.14 If STATS has a license or other right to practice the DDB patents, you may

not rely on any activities by STATS to prove infringement by Fox Sports Interactive Media.15

         Fox Sports Interactive Media argues that STATS has a license to use the DDB patents

and, therefore, DDB cannot rely upon activities of STATS to prove infringement by Fox Sports

Interactive Media. Fox Sports Interactive Media must show that it is more probable than not that




14
   The Federal Circuit Bar Association Model Patent Jury Instructions (2013), Infringement Instruction B.3.7
(modified); Akamai Technologies, Inc. v. Limelight Networks, Inc., 692 F.3d 1301, 1305-1307, 1318 (Fed. Cir.
2012); Muniauction Inc. v. Thomson Corp., 532 F.3d 1318, 1329-30 (Fed. Cir.2008); BMC Resources Inc. v.
Paymentech LP, 498 F.3d 1373, 1378-81 (Fed. Cir. 2007); Cross Med. Prods., Inc. v. Medtronic Sofamor Danek,
424 F.3d 1293, 1311 (Fed. Cir. 2005); Kim v. ConAgra Foods, Inc., 465 F.3d 1312, 1316, n.1 (Fed. Cir. 2006);
MicroStrategy Inc. v. Bus. Objects, S.A., 429 F.3d 1344, 1352-53 (Fed. Cir. 2005); Cross Med. Prods. v. Medtronic
Sofamor Danek, 424 F.3d 1293, 1309-11 (Fed. Cir. 2005); Netword, LLC v. Centraal Corp., 242 F.3d 1347, 1353-54
(Fed. Cir. 2001); Moleculon Research Corp. v. CBS, Inc., 793 F.2d 1261 (Fed. Cir. 1986).
15
   35 U.S.C. § 271(a); see Aro Mfg Co. v. Convertible Top Replacement Co., 377 U.S. 476, 497-98 (1964) (“With
the restriction thus eliminated, it is clear that Aro cannot be liable for contributory infringement in connection with
sales of replacement fabris made after July 21, 1955. After that date the Ford car owners had authority from the
patentee—indeed, had a “license”—fully to use and repair the patented structures. Hence they did not commit direct
infringement under § 271(a) when they had the fabrics replaced; hence Aro, in selling the replacement fabrics for
this purpose, did not commit contributory infringement under § 271(c).”); Anton/Bauer, Inc. v. PAG, Ltd., 329 F.3d
1343, 1349 (Fed. Cir. 2003) (“Therefore, if Anton/Bauer’s customers have an implied license to practice the
patented combination, they cannot infringe the ’204 patent, and PAG cannot be liable for either inducement of
infringement or contributory infringement.”); Boynton v. Headwaters, Inc., 243 F. App’x 610, 613 (Fed. Cir. 2007)
(unpublished).



                                                         23
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STATS has a license to use the DDB patents for the steps that it is performing in the United

States under the control or direction of Fox Sports Interactive Media.16

V.      DIRECT INFRINGEMENT – THE DOCTRINE OF EQUIVALENTS17

        [DDB contends that certain claim elements, if not met literally, are met equivalently. If

you decide that Fox Sports Interactive Media does not perform these claim elements literally you

must then decide whether Fox Sports Interactive Media performs those elements under what is

called the doctrine of equivalents.]

        [OR]

        [If you decide that Fox Sports Interactive Media’s accused products do not literally

infringe an asserted patent claim, you must then decide whether that those products infringe the

asserted claim under what is called the doctrine of equivalents.]

        Under the doctrine of equivalents, if the accused infringer does not perform a particular

claimed step identically, that accused infringer may still be liable for infringement if it performs

that claimed step equivalently. If the accused infringer does not perform even one of the steps of

the asserted claim identically or equivalently, then the accused infringer does not infringe. Thus,

in making your decision under the doctrine of equivalents, you must look at each individual step

of the asserted patent claim and decide whether the accused infringer performs that step either

identically or equivalently.




16
  Fuji Photo Film Co., Ltd. v. Int'l Trade Comm'n, 474 F.3d 1281, 1293 (Fed. Cir. 2007); Carborundum Co. v.
Molten Metal Equip. Innovations, Inc., 72 F.3d 872, 878 (Fed. Cir. 1995); Bandag, Inc. v. Al Bolser's Tire Stores,
Inc., 750 F.2d 903, 924 (Fed.Cir.1984); JVC Kenwood Corp. v. Arcsoft, Inc., 966 F. Supp. 2d 1003, 1008 (C.D. Cal.
2013).
17
   FSIM objects to the inclusion of this instruction. DDB only relies on the doctrine of equivalents with respect to
the “computer simulation” claim limitations, and DDB is precluded from relying on the doctrine of equivalents with
respect to that limitation under the doctrine of prosecution history estoppel. However, FSIM proposes an instruction
on the doctrine of equivalents in the event that the Court disagrees.


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        A step performed by an accused infringer is equivalent to a claimed step if a person of

ordinary skill in the field would think that the difference between the step performed by the

accused infringer and the claimed step was insubstantial as of the time of the alleged

infringement. One way to decide whether any difference between the step performed by the

accused infringer and the claimed step is insubstantial is to consider whether, as of the time of

the alleged infringement, the step of the accused infringer performs substantially the same

function, in substantially the same way, to achieve substantially the same result as the claimed

step.

        In deciding whether any difference between the step performed by the accused infringer

and the claimed step is not substantial, you may consider whether, at the time of the alleged

infringement, persons of ordinary skill in the field would have known of the interchangeability

between the step performed by the accused infringer and the claimed step. The known

interchangeability between the step performed by the accused infringer and the claimed step is

not necessary to find infringement under the doctrine of equivalents. A single step performed by

an accused product may satisfy more than one step of a claim.18

[Note: Limitations on the doctrine of equivalents are for the Court to decide. However, a
proposed jury instruction has been provided in the event that the Court wishes to receive
an advisory verdict from the jury.]

VI.  LIMITATIONS ON DIRECT INFRINGEMENT UNDER THE DOCTRINE OF
EQUIVALENTS

        The prior art may preclude a finding of infringement under the doctrine of equivalents. I

will explain what “prior art” is, but, generally speaking, “prior art” are things (often found in


18
  AIPLA Model Jury Instructions (2008), Infringement Instruction 3.11 (modified); Warner-Jenkinson Co., Inc. v.
Hilton Davis Chem. Co., 520 U.S. 17 (1997); Hughes Aircraft Co. v. U.S., 140 F.3d 1470 (Fed. Cir. 1998) Graver
Tank & Mfg. Co, v. Linde Air Prods. Co., 339 U.S. 605, 609 (1950); Johnson & Johnston Assoc. v. R.E. Service Co.,
285 F.3d 1046, 1053-54 (Fed. Cir. 2002) (en banc); Multiform Desiccants, Inc. v. Medzam, Ltd., 133 F.3d 1473,
1480 (Fed. Cir. 1998); Dolly, Inc. v. Spalding & Evenflo Cos., 16 F.3d 394, 397 (Fed. Cir. 1994).



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references such as books, magazines, and other patents) that were already known or done before

the invention. In reaching your decisions in this case, you must use the definition of “prior art”

that I provide to you. You may determine whether the prior art prevents a finding of

infringement under the doctrine of equivalents using two different methods.

       First, to determine whether the prior art precludes a finding of infringement under the

doctrine of equivalents for a particular product that is accused of infringing a particular claim,

you must determine what technology is in the “prior art” as well as what would have been

obvious from the “prior art” to a person having an ordinary level of skill in the field of

technology of the patent at the time of the invention.

       If a prior art reference has the same allegedly “equivalent” features and meets all the

other claim requirements, you must find that the claim has not been infringed. Similarly, if a

person having ordinary skill in the field of technology would have found the claim requirements,

including the allegedly “equivalent” features, to be obvious in light of a prior art reference, or a

combination of prior art references, you must find that the claim has not been infringed.

       Fox Sports Interactive Media has the burden of proving that this hypothetical claim was

within the prior art at the time of the alleged infringement, by a preponderance of the evidence.

       Alternatively, to determine whether the prior art precludes a finding of infringement

under the doctrine of equivalents, you must first have in mind a “hypothetical claim” that would

cover the accused, allegedly equivalent product literally. The hypothetical claim is exactly the

same as the claim at issue, except that the unmet claim requirements are broadened so that they

would literally be met by the accused product.

       Once you have this equivalent “hypothetical claim” in mind, you must decide whether

this hypothetical claim would have been invalid for either anticipation or obviousness. Fox




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Sports Interactive Media must come forward with prior art to challenge a hypothetical claim, but

the burden of proving patentability of the hypothetical claim remains with DDB. I will instruct

you later on how to determine if a claim is invalid for anticipation or obviousness. You should

use these same rules to determine whether or not the “hypothetical claim” would be invalid for

anticipation or obviousness. If you determine that the “hypothetical claim” would have been

invalid for anticipation or obviousness, then you must find that there is no infringement of this

particular claim under the doctrine of equivalents.19

        Fox Sports Interactive Media has also argued that DDB cannot assert infringement under

the doctrine of equivalents due to statements that the patent applicants made to the PTO in order

to get the claims allowed in the first place. You may not find that a product infringes a claim

under the doctrine of equivalents if you find that, during the patent application process, the

applicant for the patent distinguished an unmet requirement from the allegedly “equivalent”

alternative aspect of that product.

        Fox Sports Interactive Media has also argued that DDB cannot assert infringement under

the doctrine of equivalents due to an amendment to the patent application leading to the DDB

patents. You may not find that [the alternative feature of the accused products is an equivalent

to] [Fox Sports Interactive Media performing] an unmet requirement of a claim [under the

doctrine of equivalents] if that requirement was added to the claim by amendment during the

prosecution of the applications that led to the issuance of the DDB patents unless certain factors

are satisfied. Specifically, in order to find equivalents, you must first also find one or more of the

following: (1) the amendment that is asserted by Fox Sports Interactive Media to limit the scope


19
   Adapted from FCBA 3.1d; Depuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1324-25 (Fed.
Cir. 2009); Interactive Pictures Corp. v. Infinite Pictures, Inc., 274 F.3d 1371, 1380-81 (Fed. Cir. 2001);
Streamfeeder, LLC v. Sure-Feed Sys., Inc., 175 F.3d 974, 981-84 (Fed. Cir. 1999); Wilson Sporting Goods Co. v.
David Geoffrey & Assocs., 904 F.2d 676, 684 (Fed. Cir. 1990).


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of the equivalents substituted a broader requirement for a narrower requirement or replaced a

requirement of equal scope; (2) the reason for making this amendment was not related to

patentability; (3) a person having ordinary skill in the field of technology of the patent at the time

of the amendment would not have foreseen the potential substitution of the allegedly

“equivalent” alternative for the unmet claim requirement; (4) the reason for the amendment is

tangential or relates to some issue other than the assertion of equivalence at issue; or (5) some

other reason, such as the shortcomings of language, prevented the applicant from using claim

language that included the allegedly “equivalent” alternative. [If you find that at least one of

these factors that I have identified for you is met, then you may find that the alternative feature

of the accused product is an equivalent to an unmet requirement of the claim.] [You may not find

that Fox Sports Interactive Media performs a step of an asserted claim by equivalents if that

requirement was added to the claim by amendment during prosecution of the applications that

led to the issuance of the patents unless you also find the existence of at least one of these factors

that I have identified for you.]

         You also may not determine that an alternative aspect of a product is equivalent to an

unmet requirement of a claim if a finding of infringement under the doctrine of equivalents

would effectively eliminate that requirement. Specifically, the alleged equivalent cannot

eliminate or ignore an element or requirement of the claim.20

VII.     INDIRECT INFRINGEMENT – INDUCING PATENT INFRINGEMENT

         [An accused infringer may be held liable for induced infringement if the accused

infringer performs some of the steps necessary to infringe at least one claim of the patent and
20
   FCBA 3.1d; Honeywell Int’l v. Hamilton Sundstrand Corp., 370 F.3d 1131 (Fed. Cir. 2004); Move, Inc. v. Real
Estate Alliance Ltd., 709 F.3d 1117, 1123 (Fed. Cir. 2013); Global-Tech Applicances, Inc. v. SEB S.A., 131 S. Ct.
2060 (2011); Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 344 F.3d 1359 (Fed. Cir. 2003) (en banc);
Interactive Pictures Corp. v. Infinite Pictures, Inc., 274 F.3d 1371, 1380 (Fed. Cir. 2001); Al-Site Corp. v. VSI Int’l,
Inc., 174 F.3d 1308, 1320 (Fed. Cir. 1999).



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then induces another party to perform the remaining steps necessary to infringe that claim. In

order to prove that Fox Sports Interactive Media is liable for induced infringement, DDB must

prove that it is more likely than not that (1) Fox Sports Interactive Media knew of the DDB

Patents, (2) Fox Sports Interactive Media performed some of the steps necessary to infringe an

asserted claim, (3) Fox Sports Interactive Media induced STATS to perform any remaining steps

necessary to infringe the asserted claim, (4) STATS did in fact perform the remaining steps, and

(5) Fox Sports Interactive Media knew, or was willfully blind to the fact, that its own acts, in

combination with STATS acts, would lead to infringement of the claims of the DDB patents. For

purposes of this analysis, as long as Fox Sports Interactive Media caused, urged, encouraged, or

aided STATS in performing certain steps, you should find that Fox Sports Interactive Media

“induced” STATS to perform that act. Inducement does not require a finding that STATS was

under the direction or control of Fox Sports Interactive Media.]

       [DDB alleges that Fox Sports Interactive Media is liable for infringement by actively

inducing others to perform steps to infringe the asserted claims. Specifically, DDB alleges that

Fox Sports Interactive Media actively induced STATS to perform some of the steps of the

asserted claims. You must determine whether there has been active inducement on a claim-by-

claim basis. To show induced infringement, DDB must prove by a preponderance of the

evidence that all of the steps of the claims have been performed and that Fox Sports Interactive

Media has actively and knowingly aided and abetted the performance of any steps by STATS.

Fox Sports Interactive Media is liable for active inducement of a claim only if:




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           1. Fox Sports Interactive Media took action during the time the patents were in force
              which encouraged acts by STATS;

           2. all of the steps of the asserted claim are performed, either by Fox Sports
              Interactive Media or STATS;

           3. Fox Sports Interactive Media (a) was aware of the patent and knew that its own
              acts and the encouraged acts constituted infringement of the patents; or (b) was
              willfully blind to the infringement of the patent. Willful blindness requires that
              the Fox Sports Interactive Media subjectively believed there was a high
              probability that its own acts and the encouraged acts constituted infringement of
              the patent and the Fox Sports Interactive Media took deliberate actions to avoid
              learning of the infringement;

           4. Fox Sports Interactive Media had the intent to encourage performance of acts by
              STATS that are necessary to infringe the asserted claims; and

           5. the encouraged acts were actually carried out by STATS.

       In order to prove active inducement, DDB must prove each of the above requirements is

met by a preponderance of the evidence, i.e., that it is more likely true than not that each of the

above requirements has been met. In considering whether Fox Sports Interactive Media has

induced infringement, you may consider all of the circumstances, including whether Fox Sports

Interactive Media obtained the advice of a competent lawyer, whether or not Fox Sports

Interactive Media had a good faith belief of non-infringement, and whether Fox Sports

Interactive Media had a good faith belief of invalidity. In order to establish active inducement of

infringement, it is not sufficient that Fox Sports Interactive Media was aware of the act(s)

necessary to practice the asserted claims that are performed by a third-party. Rather, you must

find that Fox Sports Interactive Media specifically intended to cause the acts performed by the

third party and must have known or was willfully blind that the action would cause

infringement.]

       If you do not find that Fox Sports Interactive Media meets these specific intent

requirements by a preponderance of the evidence, then you must find that Fox Sports Interactive



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Media has not actively induced the alleged infringement.21 In addition, if STATS has a license or

other right to practice the DDB patents, then you may not find Fox Sports Interactive Media

liable for induced infringement.22

         Fox Sports Interactive Media argues that STATS has a license to use the DDB patents

and, therefore, DDB cannot rely upon activities of STATS to prove infringement by Fox Sports

Interactive Media. Fox Sports Interactive Media must show that it is more probable than not that

STATS has a license to use the DDB patents for the steps that it is performing in the United

States under the control or direction of Fox Sports Interactive Media.23

         [Note: The objective prong of the test for willfulness is a legal issue for the Court to

decide. However, an instruction on the objective prong is included in the willfulness

instruction in the event the Court wishes to submit the issue to the jury for an advisory

verdict.]

VIII. WILLFUL INFRINGEMENT

         In this case, DDB argues both that Fox Sports Interactive Media infringed and, further,

that Fox Sports Interactive Media infringed willfully. If you have decided that Fox Sports

21
  35 U.S.C. § 271(b); Adapted from VirnetX Inc. v. Apple, Inc. (E.D. Tex. November 6, 2012), ECF No. 597;
Global-Tech Applicances, Inc. v. SEB S.A., 131 S. Ct. 2060 (2011); Akamai Technologies, Inc. v. Limelight
Networks, Inc., 692 F.3d 1301 (Fed. Cir. 2012) (en banc); Commil USA, LLC v. Cisco Sys., Inc., 720 F.3d 1361
(Fed. Cir. 2013);DSU Medical Corp. v. JMS Co., 471 F.3d 1293, 1304-05 (Fed. Cir. 2006) (en banc) (quoting
Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 936 (2005)).
22
   See Aro Mfg Co. v. Convertible Top Replacement Co., 377 U.S. 476, 497-98 (1964) (“With the restriction thus
eliminated, it is clear that Aro cannot be liable for contributory infringement in connection with sales of replacement
fabris made after July 21, 1955. After that date the Ford car owners had authority from the patentee—indeed, had a
“license”—fully to use and repair the patented structures. Hence they did not commit direct infringement under §
271(a) when they had the fabrics replaced; hence Aro, in selling the replacement fabrics for this purpose, did not
commit contributory infringement under § 271(c).”); Anton/Bauer, Inc. v. PAG, Ltd., 329 F.3d 1343, 1349 (Fed. Cir.
2003) (“Therefore, if Anton/Bauer’s customers have an implied license to practice the patented combination, they
cannot infringe the ’204 patent, and PAG cannot be liable for either inducement of infringement or contributory
infringement.”); Boynton v. Headwaters, Inc., 243 F. App’x 610, 613 (Fed. Cir. 2007) (unpublished).
23
  Fuji Photo Film Co., Ltd. v. Int'l Trade Comm'n, 474 F.3d 1281, 1293 (Fed. Cir. 2007); Carborundum Co. v.
Molten Metal Equip. Innovations, Inc., 72 F.3d 872, 878 (Fed. Cir. 1995); Bandag, Inc. v. Al Bolser's Tire Stores,
Inc., 750 F.2d 903, 924 (Fed.Cir.1984); JVC Kenwood Corp. v. Arcsoft, Inc., 966 F. Supp. 2d 1003, 1008 (C.D. Cal.
2013).


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Interactive Media has infringed, you must go on and address the additional issue of whether or

not this infringement was willful. Willfulness requires you to determine by clear and

convincing evidence that Fox Sports Interactive Media acted objectively recklessly.

       To prove that Fox Sports Interactive Media acted objectively recklessly, DDB must

prove two things by clear and convincing evidence:

       The first part of the test is objective: the patent holder must persuade you that Fox

Sports Interactive Media acted despite a high likelihood that Fox Sports Interactive Media’s

actions infringed a valid and enforceable patent. In making this determination, you may not

consider Fox Sports Interactive Media’s state of mind. Legitimate or credible defenses to

infringement, even if not ultimately successful, demonstrate a lack of recklessness.

       Only if you conclude that the Fox Sports Interactive Media’s conduct was objectively

reckless do you need to consider the second part of the test. The second part of the test does

depend on the state of mind of the Fox Sports Interactive Media. DDB must persuade you that

Fox Sports Interactive Media actually knew or should have known that its actions constituted

an unjustifiably high risk of infringement of a valid and enforceable patent. To determine

whether Fox Sports Interactive Media had this state of mind, consider all facts which may

include, but are not limited, to:

   1. Whether or not Fox Sports Interactive Media acted in accordance with the standards of

       commerce for its industry;

   2. Whether or not Fox Sports Interactive Media intentionally copied a product that is

       covered by the DDB patents;

   3. Whether or not there is a reasonable basis to believe that Fox Sports Interactive Media

       did not infringe or had a reasonable defense to infringement;




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       4. Whether or not Fox Sports Interactive Media made a good-faith effort to avoid

           infringing the DDB patents, for example, whether Fox Sports Interactive Media

           attempted to design around the DDB patents; and

       5. Whether or not Fox Sports Interactive Media tried to cover up its infringement.

       Fox Sports Interactive Media argues it did not act recklessly because it relied on a legal

opinion that advised Fox Sports Interactive Media that it did not infringe the DDB patents. You

must evaluate whether the opinion was of a quality that reliance on its conclusions was
                 24
reasonable.           In determining whether reliance on an opinion of counsel was reasonable, you

should consider factors such as whether the opinion was timely obtained, whether the opinion

contains sufficient internal indicia of credibility to remove any doubt that Fox Sports Interactive

Media in fact received a competent opinion,25 whether counsel analyzed all of the relevant facts,

whether the opinion was conclusory in nature, whether the opinion was rendered by independent

outside counsel, and whether the opinion was rendered by an experienced patent attorney.26

                                                   INVALIDITY

           I will now instruct you on the rules you must follow in deciding whether or not Fox

Sports Interactive Media has proven that the claims of the DDB patents are invalid. Patent

invalidity is a defense to patent infringement. Even though the PTO examiner has allowed the

claims of a patent, you have the ultimate responsibility for deciding whether the claims of the
24
  FCBA Infringement Instruction B.3.10 (modified); 35 U.S.C. § 284; In re Seagate Tech., LLC, 497 F.3d 1360
(Fed. Cir. 2007); Knorr-Bremse v. Dana Corp., 383 F.3d 1337 (Fed. Cir. 2004) (en banc) (opinion of counsel
defense); Crystal Semiconductor Corp. v. Tritech Microelectronics Int’l, Inc., 246 F.3d 1336, 1346 (Fed. Cir. 2001);
WMS Gaming Inc. v. Int’l Game Tech., 184 F.3d 1339, 1354 (Fed. Cir. 1999); Read Corp. v. Portec, Inc., 970 F.2d
816 (Fed. Cir. 1992) (identifying factors that may show willfulness); Gustafson, Inc. v. Intersystems Indus. Prods.,
Inc., 897 F.2d 508, 510 (Fed. Cir. 1990) (history of Federal Circuit decisions on willfulness).
25
     In re Hayes Microcomputer Products, Inc. Patent Litig., 982 F.2d 1527, 1543 (Fed. Cir. 1992).
26
  Westvaco Corp. v. Int’l Paper Co., 991 F.2d 735, 743-44 (Fed. Cir. 1993); Read Corp. v. Portec, Inc., 970 F.2d
816, 828-29 (Fed. Cir. 1992); Underwater Devices Inc. v. Morrison-Knudsen Co., 717 F.2d 1380, 1390 (Fed. Cir.
1983).



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patent are valid.27 To prove that any claim of a patent is invalid, Fox Sports Interactive Media

must persuade you by clear and convincing evidence, i.e., you must be left with a clear

conviction that the claim is invalid.28

I.         ANTICIPATION

           The patent laws of the United States require that an invention must be new for a person to

be entitled to a patent. Fox Sports Interactive Media asserts that the asserted claims are invalid

because the claimed invention is not new, or it lacks novelty. Specifically, Fox Sports Interactive

Media asserts that the claimed invention is anticipated by prior art.

           In the following instructions, I will use the term “prior art” repeatedly. Prior art means

technology and information that was publicly available before the date of invention. The United

States patent laws identify the circumstances in which a person is not entitled to a patent because

the elements of the claimed invention were previously disclosed by prior art. The specific

categories of prior art that are relevant for purposes of this case include:

                1. Anything that was publicly known or used by others in the United States before

                    the date of the invention.

                2. Anything that was patented or described in a printed publication anywhere in the

                    world before the date of invention.




27
     Model Patent Jury Instructions of the National Jury Instruction Project (2009).
28
   FCBA 4.1; 35 U.S.C. § 282 (patents presumed valid); Microsoft Corp. v. i4i Limited Partnerhsip, 131 S.Ct. 2238
(2011); Schumer v. Lab. Computer Sys., Inc., 308 F.3d 1304, 1315 (Fed. Cir. 2002) (to overcome presumption of
validity, challenging party must present clear and convincing evidence of invalidity); Buildex, Inc. v. Kason Indus.,
Inc., 849 F.2d 1461, 1463 (Fed. Cir. 1988) (clear and convincing evidence is that “which produces in the mind of the
trier of fact an abiding conviction that the truth of [the] factual contentions are highly probable”) (alteration in
original) (citation and internal quotation marks omitted); Hybritech Inc. v. Monoclonal Antibodies, Inc., 802 F.2d
1367, 1375 (Fed. Cir. 1986) (“Notwithstanding that the introduction of prior art not before the examiner may
facilitate the challenger’s meeting the burden of proof on invalidity, the presumption remains intact and on the
challenger throughout the litigation, and the clear and convincing standard does not change.”).



                                                            34
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                3. Anything that was described in a patent granted on an application for patent by

                    another filed in the United States and the application was filed before the date of

                    invention.

                4. Anything that was already patented or described in a printed publication,

                    anywhere in the world, more than a year before [the effective filing date] [July 29,

                    1992]. An invention was patented by another if the other patent describes the

                    same invention claimed by DDB to a person having ordinary skill in the

                    technology.

                5. Anything that was publicly used, sold, or offered for sale in the United States

                    more than one year before [the effective filing date] [July 29, 1992]. An invention

                    was publicly used when it was either accessible to the public or commercially

                    exploited.29

           [I will instruct you later on the effective filing date.] [You are instructed that date of

invention in this case is July 29, 1992, which is also the earliest effective filing date to which the

DDB patents can claim priority.]30

           To anticipate a claim, each and every element in the claim must be present in a single

item of prior art, and arranged or combined in the same way as recited in the claim. You may not

combine two or more items of prior art to find anticipation. In determining whether every one of

the elements of the claimed invention is found in the prior art, you should take into account what

a person of ordinary skill in the art would have understood from his or her review of the

particular prior art reference.

29
  Adapted from Jury Instructions, at 20-21, W. Union Co. v. Moneygram Int’l, Inc., Case No. 1:07-cv-372-SS (W.D.
Tex., Sept. 23, 2009), ECF No. 389 and FCBA 4.3; 35 U.S.C. §§ 102(a), (b), (e).
30
     See U.S. Pat. No. 5,526,479.



                                                      35
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        In determining whether the single item of prior art anticipates a patent claim, you should

take into consideration not only what is expressly disclosed in the particular item of prior

invention, but also what inherently resulted from its practice. This is called “inherency.”

Something is inherent in an item of prior art if it is always present in the prior art or always

results from the practice of the prior art and if a skilled person would understand that to be the

case. A party claiming inherency must prove it by clear and convincing evidence. To establish

inherency, the evidence must make clear that the prior art necessarily resulted in the missing

descriptive matter and that it would be so recognized by a person of ordinary skill in the art at the

time the patent application as filed. It is not required, however, that the person of ordinary skill

would have recognized the inherent disclosure. Thus, the prior use of the patented invention that

was unrecognized and unappreciated can still be an invalidating anticipation.31

        When a party challenging the validity of a patent relies on prior art that was considered

by the Examiner during the prosecution of the application which resulted in the issued patent,

that party’s ability to satisfy its clear and convincing evidence burden may be more difficult.

When a party challenging the validity of a patent presents evidence that was not considered by

the Examiner during the prosecution of the application which resulted in the issued patent, such

new evidence may be given more weight and may make it easier to satisfy that party’s clear and

convincing evidence burden.32

31
  AIPLA 6.0; Net MoneyIN, Inc. v. Verisign, Inc., 545 F.3d 1359, 1369-70 (Fed. Cir. 2008); Toro Co. v. Deere &
Co., 355 F.3d 1313, 1320-1321 (Fed. Cir. 2004); Schering Corp. v. Geneva Pharms., Inc., 339 F.3d 1373, 1377-
1378 (Fed. Cir. 2003); In re Robertson, 169 F.3d 743, 745 (Fed. Cir. 1999); Atlas Powder Co. v. IRECO Inc., 190
F.3d 1342, 1347-1348 (Fed. Cir. 1999); Glaverbel Societe Anonyme v. Northlake Mktg. & Supply, Inc., 45 F.3d
1550, 1554 (Fed. Cir. 1995); Minn. Mining & Mfg. Co. v. Johnson & Johnson Orthopaedics, Inc., 976 F.2d 1559,
1565 (Fed. Cir. 1992); Cont’l Can Co. USA v. Monsanto Co., 948 F.2d 1264, 1267-1269 (Fed. Cir. 1991); Buildex,
Inc. v. Kason Indus., Inc., 849 F.2d 1461, 1463 (Fed. Cir. 1988).
32
  AIPLA 5.1; Microsoft Corp. v. i4i Ltd. P’ship., 564 U.S. __, 131 S. Ct. 2238, 2251 (2011); SIBIA Neurosciences,
Inc. v. Cadus Pharm. Corp., 225 F.3d 1349, 1355-56 (Fed. Cir. 2000); Group One, Ltd. v. Hallmark Cards, Inc., 407
F.3d 1297, 1306 (Fed. Cir. 2005).



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           In this case, you must determine the date of invention of the claimed invention. The date

of invention is either when the invention was reduced to practice or when conceived, provided

that the inventors were diligent in reducing the invention to practice. Diligence means working

continuously, though not necessarily every day.

           Conception is the mental part of an inventive act, i.e., the formation in the mind of the

inventor of a definite and permanent idea of the complete and operative invention as it is

thereafter to be applied in practice, even if the inventor did not know at the time that the

invention would work. Conception of an invention is complete when the idea is so clearly

defined in the inventor’s mind that, if the idea were communicated to a person having ordinary

skill in the field of the technology, he or she would be able to reduce the invention to practice

without undue research or experimentation.

           This requirement does not mean that the inventor has to have a prototype built, or

actually explained her or his invention to another person. But, there must be some evidence

beyond the inventor’s own testimony that confirms the date on which the inventor had the

complete idea. Conception may be proven when the invention is shown in its complete form by

drawings, disclosure to another person, or other forms of evidence presented at trial. The

patentee must show evidence that it possessed every feature recited in the claims, and that every

limitation of the claims was known to the inventor at the time of the alleged conception.33 In this

case, DDB must provide corroborating evidence contemporaneous with its date of conception

that describes the invention with particularity.34 Corroborating evidence may take many forms,

such as: contemporaneous documents prepared by the inventor; circumstantial evidence about


33
     See Hitzeman v. Rutter, 243 F. 3d 1345, 1354 (Fed. Cir. 2001).
34
     See Burroughs Wellcome Co. v. Barr Laboratories, Inc., 40 F.3d 1223, 1228 (Fed. Cir. 1994).



                                                          37
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the inventive process contemporaneous with the date of conception; and oral testimony of

someone other than the alleged inventor.35 DDB bears the burden of coming forward with

evidence that corroborates the inventors’ testimony that the invention was conceived prior to

[DDB’s earliest priority date] [July 29, 1992].

           A claimed invention is “reduced to practice” when it has been constructed, used, or tested

sufficiently to show that it will work for its intended purpose. An invention may also be reduced

to practice even if the inventor has not made or tested a prototype of the invention if it has been

fully described in a filed patent application.36 37

II.        OBVIOUSNESS

           Fox Sports Interactive Media also contends that the asserted claims of the asserted

patents are invalid because the claimed invention is “obvious.”

           Even though an invention may not have been identically disclosed or described before it

was made by an inventor, in order to be patentable, the invention must also not have been

obvious to a person of ordinary skill in the field of technology of the patent at the time the

invention was made.38 A claimed invention is invalid as “obvious” if it would have been obvious

to a person of ordinary skill in the art of the claimed invention at the time the invention was



35
     See Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d 1456, 1461 (Fed. Cir. 1998).
36
  Adapted from FCBA 4.3a; Dawson v. Dawson, 710 F.3d 1347, 1352 (Fed. Cir. 2013); Mycogen Plant Sci. v.
Monsanto Co., 243 F.3d 1316, 1331-32 (Fed. Cir. 2001) Ethicon, Inc. v. U.S. Surgical Corp;, 135 F.3d 1456,
Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572, 1576-78 (Fed. Cir. 1996); Burroughs Wellcome Co. v. Barr Labs., Inc.,
40 F.3d 1223, 1227-28 (Fed. Cir. 1994); Hybritech Inc. v. Monoclonal Antibodies, Inc., 802 F.2d 1367, 1376 (Fed.
Cir. 1986).
37
   The parties propose this instruction regarding conception and reduction to practice in the event that the Court
declines to instruct the jury that the date of invention is a specific date, as requested above. If the Court instructs the
jury that the date of invention is specific date, then an instruction regarding conception and reduction to practice is
unnecessary.
38
     FCBA 4.3(c).



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made. Unlike anticipation, which allows consideration of only one item of prior art, obviousness

may be shown by considering more than one item of prior art.

          In determining whether a claimed invention is obvious, you must consider the level of

ordinary skill in the field that someone would have had on [the effective filing] [July 29, 1992],

the scope and content of the prior art, and any differences between the prior art and the claimed

invention.39 In deciding obviousness, you must avoid using hindsight; that is, you should not

consider what is known today. You must put yourself in the place of a person of ordinary skill in

the art at the time the invention was made.

          The following factors must be evaluated to determine whether Fox Sports Interactive

Media has established that the claimed invention is obvious:

              1. the scope and content of the prior art relied upon by Fox Sports Interactive Media;

              2. the difference or differences, if any, between each claim of the asserted patents

                    and the prior art;

              3. the level of ordinary skill in the art at the time the invention of the DDB patents

                    was made; and

              4. additional considerations, if any, that indicate that the invention was obvious or

                    not obvious.

          Each of these factors must be evaluated, although they may be analyzed in any order, and

you must perform a separate analysis for each of the claims. 40


39
     FCBA 4.3(c).
40
  AIPLA 7.0; KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 405 and 421 (2007); Graham v. John Deere Co., 383
U.S. 1, 17-18 (1966); Otsuka Pharmaceutical Co., Ltd. v. Sandoz, Inc., 678 F.3d 1280, 1296 (Fed. Cir. 2012);
Leapfrog Enters., Inc. v. Fisher-Price, Inc., 485 F.3d 1157, 1161-62 (Fed. Cir. 2007); Ruiz v. A.B. Chance Co., 234
F.3d 654, 662-63 (Fed. Cir. 2000); Arkies Lures, Inc. v. Gene Larew Tackle, Inc., 119 F.3d 953, 955 (Fed. Cir.
1997); Ryko Mfg. Co. v. Nu-Star, Inc., 950 F.2d 714, 716 (Fed. Cir. 1991); Nutrition 21 v. U.S., 930 F.2d 867, 871
n.2 (Fed. Cir. 1991); Newell Cos. v. Kenney Mfg. Co., 864 F.2d 757, 764 (Fed. Cir. 1988); Structural Rubber Prods.
Co. v. Park Rubber Co., 749 F.2d 707, 718-19 (Fed. Cir. 1984); Orthopedic Equip. Co. v. All Orthopedic


                                                        39
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        Fox Sports Interactive Media must prove obviousness by clear and convincing evidence.

Again, when a party challenging the validity of a patent relies on prior art that was considered by

the Examiner during the prosecution of the application which resulted in the issued patent, that

party’s ability to satisfy its clear and convincing evidence burden may be more difficult. When a

party challenging the validity of a patent presents evidence that was not considered by the

Examiner during the prosecution of the application which resulted in the issued patent, such new

evidence may be given more weight and may make it easier to satisfy that party’s highly

probable evidence burden.41 I will now explain each of the four factors in more detail.

        A.       Scope and Content of Prior Art

        The prior art that you considered previously for anticipation purposes is also prior art for

obviousness purposes.

        B.       Differences Between the Claimed Invention and the Prior Art

        You should analyze whether there are any relevant differences between the prior art and

the claimed invention from the view of a person of ordinary skill in the art at the time of the

invention. Your analysis must determine the impact, if any, of such differences on the

obviousness or nonobviousness of the invention as a whole, and not merely some portion of it.

        In analyzing the relevance of the differences between the claimed invention and the prior

art, you do not need to look for precise teaching in the prior art directed to the subject matter of

the claimed invention. You may take into account the inferences and creative steps that a person

of ordinary skill in the art would have employed in reviewing the prior art at the time of the


Appliances, Inc., 707 F.2d 1376, 1382-83 (Fed. Cir. 1983); Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530, 1538-
40 (Fed. Cir. 1983).
41
  Adapted from AIPLA 5.1; Microsoft Corp. v. i4i Ltd. P’ship., 564 U.S. __, 131 S. Ct. 2238, 2251 (2011); SIBIA
Neurosciences, Inc. v. Cadus Pharm. Corp., 225 F.3d 1349, 1355-56 (Fed. Cir. 2000); Group One, Ltd. v. Hallmark
Cards, Inc., 407 F.3d 1297, 1306 (Fed. Cir. 2005).



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invention. For example, if the claimed invention combined elements known in the prior art and

the combination yielded results that were predictable to a person of ordinary skill in the art at the

time of the invention, then this evidence would make it more likely that the claim was obvious. If

you find that it was commonplace at the time of the invention to apply modern electronics,

computer, internet, or web technology to older mechanical or electrical devices, and that the

combination of this modern technology with the older devices would have yielded the

claimed invention, you should find that the asserted claims are obvious.42

        On the other hand, if the combination of known elements yielded unexpected or

unpredictable results, or if the prior art teaches away from combining the known elements, then

this evidence would make it more likely that the claim that successfully combined those elements

was not obvious.

        Importantly, a claim is not proved obvious merely by demonstrating that each of the

elements was independently known in the prior art. Most, if not all, inventions rely on building

blocks long since uncovered, and claimed discoveries almost of necessity will likely be

combinations of what is already known. Therefore, you should consider whether a reason existed

at the time of the invention that would have prompted a person of ordinary skill in the art in the

relevant field to combine the known elements in the way the claimed invention does. The reason

could come from the prior art, the background knowledge of one of ordinary skill in the art, the

nature of any problem or need to be addressed, market demand, or common sense. You may also

consider whether the problem or need was known, the possible approaches to solving the




42
  Soverain Software LLC v. Newegg Inc., 705 F.3d 1333, 1340, 1344 (Fed. Cir. 2013); W. Union Co. v. MoneyGram
Payment Sys., 626 F.3d 1361, 1369 (Fed. Cir. 2010); Muniauction, Inc. v. Thomson Corp., 532 F.3d 1318, 1326-27
(Fed. Cir. 2008); Leapfrog Enters., Inc. v. Fisher-Price, Inc., 485 F.3d 1157, 1161 (Fed. Cir. 2007).



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problem or addressing the need were known and finite, and the solution was predictable through

use of a known option.

        If you find that a reason existed at the time of the invention to combine the elements of

the prior art to arrive at the claimed invention, this evidence would make it more likely that the

claimed invention was obvious. Again, you must undertake this analysis separately for each

claim that Fox Sports Interactive Media contends is obvious.43

        C.       Level of Ordinary Skill

        The determination of whether a claimed invention is obvious is based on the perspective

of a person of ordinary skill in the field of the technology of the patent. The person of ordinary

skill is presumed to know all prior art that you have determined to be reasonably relevant. The

person of ordinary skill is also a person of ordinary creativity that can use common sense to

solve problems.

        When determining the level of ordinary skill in the art, you should consider all the

evidence submitted by the parties, including evidence of:

             1. the level of education and experience of persons actively working in the field at

                 the time of the invention, including the inventor;

             2. the types of problems encountered in the art at the time of the invention; and




43
  Adapted from AIPLA 7.2; KSR Int’l Co. v. Teleflex Inc., 127 S.Ct. 1727, 1742-43 (2007); Abbott Labs. v. Sandoz,
Inc., 544 F.3d 1341, 1351 (Fed. Cir. 2008); Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966); Stratoflex, Inc. v.
Aeroquip Corp., 713 F.2d 1530, 1536-37 (Fed. Cir. 1983); Medtronic, Inc., v. Cardiac Pacemakers, Inc., 721 F.2d
1563, 1567-68 (Fed. Cir. 1983).



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              3. the sophistication of the technology in the art at the time of the invention,

                 including the rapidity with which innovations were made in the art at the time of

                 the invention.44

         Fox Sports Interactive Media contends that a person of ordinary skill in the art would

have at least a Bachelor’s degree or equivalent experience in computer science, electrical

engineering, or a related field. This person would also have at least 3-5 years of experience with

the analysis and programming of client-server applications and computer networking technology,

including knowledge of various programming languages required for the implementation of such

systems, and knowledge of distributed computer architectures.

         DDB contends that a person of ordinary skill in the art for purposes of this case is a

person having (1) a bachelor degree in computer science, software engineering, electrical

engineering, or the equivalent, and (2) several years of experience in the application of at least

one of these disciplines.

         D.      Factors Indicating Nonobviousness

         Before deciding the issue of obviousness, you must also consider certain factors, which,

if established, may indicate that the invention would not have been obvious. No factor alone is

dispositive, and you must consider the obviousness or nonobviousness of the invention as a

whole.

              1. Commercial success of a product due to the merits of the claimed invention.

              2. A long felt need for the solution provided by the claimed invention.




44
   AIPLA 7.3; KSR Int’l Co. v. Teleflex Inc., 127 S.Ct. 1727, 1742-43 (2007); Graham v. John Deere Co., 383 U.S.
1, 17-18 (1966); Ruiz v. A.B. Chance Co., 234 F.3d 654, 666-67 (Fed. Cir. 2000); Envtl. Designs, Ltd. v. Union Oil
Co., 713 F.2d 693, 696-97 (Fed. Cir. 1983).



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              3. Unsuccessful attempts by others to find the solution provided by the claimed

                    invention.

              4. Copying of the claimed invention by others.

              5. Unexpected and superior results from the claimed invention.

              6. Acceptance by others of the claimed invention as shown by praise from others in

                    the field or from the licensing of the claimed invention.

              7. Whether persons having ordinary skill in the art of the invention expressed

                    surprise or disbelief regarding the invention.45

              8. Other evidence tending to show nonobviousness.

              9. Independent invention of the claimed invention by others before or at about the

                    same time as the named inventor thought of it.

              10. Other evidence tending to show obviousness.

          The presence of factors 1-8 may be considered by you as an indication that the claimed

invention would not have been obvious at the time the claimed invention as made, and the

presence of factors 9 and 10 may be considered by you as an indication that the claimed

invention would have been obvious at the time the claimed invention was made. Although you

should consider any evidence of these factors, the relevance and importance of them to your

decision on whether the claimed invention would have been obvious is up to you.46




45
     FCBA 4.3(c).
46
  Adapted from AIPLA 7.4 and Northern District of California Model Patent Jury Instructions 4.3b; Graham v.
John Deere Co., 383 U.S. 1, 17-18 (1966); United States v. Adams, 383 U.S. 39, 52 (1966); Perkin-Elmer Corp. v.
Computervision Corp., 732 F.2d 888, 894-95 (Fed. Cir. 1984); Envtl. Designs, Ltd. v. Union Oil Co., 713 F.2d 693,
697 (Fed. Cir. 1983); WL Gore & Assocs., Inc. v. Garlock, Inc., 721 F.2d 1540, 1555-56 (Fed. Cir. 1983); Stratoflex,
Inc., v. Aeroquip Corp., 713 F.2d 1530, 1538-39 (Fed. Cir. 1983).



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[Note: Obviousness-type double patenting is an issue of law for the Court to decide.

However, a proposed jury instruction has been provided in the event that the Court wishes

to receive an advisory verdict from the jury.]

[Note: On May 15, 2014, this Court ordered that DDB is not entitled to pursue infringement

under the ‘479 patent after June 25, 2010, which was the expiration date of the ’347, ’862, and

’587 Patents. Under this ruling, the ‘479 patent no longer expires later than the ’347, ’862, and

’587 Patents, which is a fundamental basis for Fox Sports Interactive Media’s double-patenting

defense. Thus, DDB respectfully submits that in view of the Court’s ruling, obviousness-type

double-patenting is no longer an issue in this case and a jury instruction on this issue is

unnecessary.]



III.   OBVIOUSNESS-TYPE DOUBLE PATENTING

       In this case, FSIM also contends that the asserted claims of the ’479 Patent are invalid in

view of the claims of the ’347, ’862, and ’587 Patents under a doctrine known as obviousness-

type double patenting. The ’347, ’862, and ’587 Patents may invalidate the claims of the ’479

Patent because those patents expire earlier than the ’479 Patent.

       The claims of the ’479 Patent are invalid for obviousness-type double patenting if the

claims of the ’479 Patent are not patentably distinct from the claims of the ’347, ’862, or ’587

Patents. Determining whether claims are patentably distinct requires a two-step inquiry. First, the

claims must be construed and the differences between the claims in the patents must be

determined. I have already construed the claims in this case. You should use those constructions

in determining whether the claims of the ’479 Patent are invalid for obviousness-type double

patenting. Once you have determined the differences between the claims of the ’479 Patent and

the claims of the ’347, ’862, and ’587 Patents, you should then determine whether those


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differences render the claims patentably distinct. A claim in the ’479 Patent is not patentably

distinct from a claim in the ’347, ’862, or ’587 Patent if the claim in the ’479 Patent is obvious

over or anticipated by a claim in the ’347, ’862, or ’587 Patent. If a claim in the ’347, ’862, or

’587 Patent is merely a narrower version of a claim in the ’479 Patent, then you should find the

claim of the ’479 Patent invalid under the doctrine of obviousness-type double patenting.47

IV.     IMPROPER INVENTORSHIP

        In this case, Fox Sports Interactive Media contends that the DDB patents are invalid

because of improper inventorship. A patent is invalid if it fails to meet the requirement that all of

the actual inventors, and only the actual inventors, be named as inventors in the patent. This is

known as the inventorship requirement.

        To be an inventor, one must make a significant contribution to the conception of at least

one or more of the claims of the patent, even if that claim has not been alleged to be infringed.

Whether the contribution is significant is measured against the full scope of the invention.

        If someone only explains to the actual inventors well-known concepts or the current state

of the art, he or she is not an inventor. Merely helping with experimentation, by carrying out the

inventor’s instructions, also does not make someone an inventor. What is required is some

significant contribution to the idea claimed.

        Persons may be inventors even if they do not make the same type or amount of

contribution, and even if they do not contribute to the subject matter of each claim of the patent.

Persons may be joint or co-inventors even though they do not physically work together, but they




47
   Gilead Scis., Inc. v. Natco Pharma Ltd., No. 2013-1418, 2014 WL 1584450 (Fed. Cir. Apr. 22, 2014); Sun
Pharmas. Indus., Ltd. v. Eli Lilly & Co., 611 F.3d 1381, 1384-85 (Fed. Cir. 2010); Eli Lilly & Co. v. Barr Labs.,
Inc., 251 F.3d 955, 967-72 (Fed. Cir. 2001).


                                                       46
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must have some open line of communication during or at approximately the time of their

inventive effort.48

V.         DETERMINATION OF THE EFFECTIVE FILING DATE—ACQUIESCENCE

[Note: Acquiescence is an issue of law for the Court to decide based on underlying facts.
However, a proposed jury instruction has been provided in the event that the Court wishes
to receive an advisory verdict from the jury.]

           DDB contends that the asserted patents are entitled to an effective filing date of June 25,

1990, which is the date of filing of U.S. Patent Application No. 07/542,990. I will refer to this

application as the ’990 Application. The ’479 patent is a continuation-in-part of the ’990

application.

           [In order to claim priority to the filing date of a parent application, the] [The] patent laws

require that [the parent application] [a patent] contain a written description of the invention in

such a way as to enable a person skilled in the art to carry out the invention.49

           A continuation-in-part can be entitled to different effective filing dates for different

claims depending on whether the parent application adequately describes what is claimed.

Claims containing any matter introduced in the continuation-in-part are entitled only to the filing

date of the continuation-in-part application. However, claims containing only matter that is

disclosed in the parent application are entitled to the effective filing date of the parent

application.50


48
   FCBA 4.3d; 35 U.S.C. §§ 102, 256; Pannu v. Iolab Corp., 155 F.3d 1344, 1349-50 (Fed. Cir. 1998); Eli Lilly &
Co. v. Aradigm Corp., 376 F.3d 1352, 1358-59 (Fed. Cir. 2004); Hess v. Advanced Cardiovascular Sys. Inc., 106
F.3d 976, 980-81 (Fed. Cir. 1997) (applying “clear and convincing evidence” standard to inventorship claims and
finding plaintiff who offered suggestions to \named inventors was not an inventor); Burroughs Wellcome Co. v. Barr
Labs., Inc., 40 F.3d1223, 1227-28 (Fed. Cir. 1994); Shatterproof Glass Corp. v. Libbey-Owens Ford Co., 758 F.2d
613, 624 (Fed. Cir. 1985).


49
     35 U.S.C. § 112 ¶ 1.
50
     Waldemar Link, GmbH & Co. v. Osteonics Corp., 32 F.3d 556, 558-59 (Fed Cir. 1994).



                                                        47
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        In this case, Fox Sports Interactive Media contends that DDB is not entitled to claim an

effective filing date of June 25, 1990, because the patent examiner issued a final rejection in the

’990 Application for failure to adequately disclose certain features. Instead of appealing the

examiner’s rejection, the patent applicants abandoned the ’990 Application and filed a new

application. Fox Sports Interactive Media contends that by abandoning ’990 Application, the

patent applicants [allegedly] acquiesced to the patent examiner’s rejection of the claims in the

’990 Application for lack of [an adequate disclosure] [enablement].

        If the patent applicants did acquiesce in the patent examiner’s rejection for lack of an

adequate disclosure, then DDB may not claim the filing date of the ’990 Application as the

effective filing date of the DDB patents. You should find that the patent applicants acquiesced if

the patent examiner rejected the claims of the ’990 application because the application did not

adequately disclose the invention, that rejection was an explicit final rejection, the applicant

chose not to appeal the examiner’s rejection and abandoned the ’990 application, and the

applicant then filed a continuation-in-part application.51

        The filing of a continuation-in-part application to overcome an examiner’s rejection does

not give rise to an irrebuttable presumption of acquiescence in the rejection. Fox Sports

Interactive Media, as the party challenging the validity, bears the burden of proving by clear and

convincing evidence that DDB’s filing of the application leading to the ’479 patent constituted

an acquiescence of the examiner’s enablement rejection. This burden of proof remains on Fox

Sports Interactive Media throughout the trial. If you find that the filing of the application leading

to the ’479 patent gives rise to a presumption of acquiescence, DDB may rebut this presumption



51
 Waldemar Link, GmbH & Co. v. Osteonics Corp., 32 F.3d 556, 558-59 (Fed Cir. 1994); Litton Sys., Inc. v.
Whirlpool Corp., 728 F.2d 1423, 1436-40.



                                                  48
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with countervailing evidence showing that it did not acquiesce in the examiner’s rejection.52

After considering this evidence, if you ultimately find that Fox Sports Interactive Media has

proven by clear and convincing evidence that the applicants acquiesced in the patent examiner’s

final rejection for lack of enablement, then DDB may not claim the filing date of the ’990

Application as the effective filing date of the DDB patents.



[Note: Whether the claims find adequate written support in a parent application is a
factual issue. Enablement is a question of law based on underlying facts.]

           If Fox Sports Interactive Media does not establish that DDB acquiesced to the examiner’s

enablement rejection of the ’990 application, then you must determine whether the ’990

Application contained a sufficient written description of the claimed invention and whether that

written description would enable a person of skill in the art to make and use the invention. If you

determine that the ‘990 Application met both of these requirements, then DDB will be entitled to

an effective filing date of June 25, 1990. Alternatively, if you determine that the ‘990

Application did not meet one or both of these requirements, then DDB will be entitled to an

effective filing date of July 29, 1992.

           In making your determination, keep in mind that if Fox Sports Interactive Media

introduces prior art that is dated earlier than July 29, 1992, but after June 25, 1990, then DDB

must come forward with evidence and argument that it is entitled to an effective filing date of

June 25, 1990. However, Fox Sports Interactive Media still bears the burden of proving by clear

and convincing evidence that the ‘990 Application did not meet the written description and

enablement requirements for the asserted claims.




52
     Pennwalt Corp. v. Akzona Inc., 740 F.2d 1573, 1578-79 (Fed. Cir. 1984)


                                                         49
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        In deciding whether the ’990 Application satisfies the written description requirement for

the asserted claims, you must consider the description from the viewpoint of a person having

ordinary skill in the field of technology of the patent when the application was filed. The written

description requirement is satisfied if a person having ordinary skill reading the ‘990 Application

would have recognized that it describes the full scope of the claimed invention as it is finally

claimed in the ’479, ’347, ’862 and ’587 patents and that the inventor actually possessed that full

scope on June 25, 1990, which is the filing date of the ’990 Application.

        The written description requirement may be satisfied by any combination of the words,

structures, figures, diagrams, formulas, etc., contained in the patent application. The full scope of

a claim or any particular requirement in a claim need not be expressly disclosed in the original

patent application if a person having ordinary skill in the field of technology of the patent at the

time of filing would have understood that the full scope or missing requirement is in the written

description in the patent application.53

        In deciding whether the ’990 Application enables one of skill in the art to use the claimed

invention, you must determine whether the description in the ’990 Application is a sufficiently

full and clear description of the claimed invention. To be sufficiently full and clear, the

description must contain enough information to have allowed a person having ordinary skill in

the field of the technology of the patent to make and use the full scope of the claimed invention

at the time the ’990 Application was filed without having to conduct undue experimentation.

53
   FCBA B.4.2; 35 U.S.C. § 112, ¶¶ 1, 2; Ariad Pharmaceuticals, Inc. v. Eli Lilly & Co., 598 F.3d 1336 (Fed. Cir.
2010) (en banc); Tech. Licensing Corp. v. Videotex, Inc., 545 F.3d 1316, 1328-29 (Fed. Cir. 2008); Lizard Tech.,
Inc. v. Earth Res. Mapping Inc., 424 F.3d 1336, 1344-45 (Fed. Cir. 2005); Univ. of Rochester v. G.D. Searle & Co.,
358 F.3d 916, 929 (Fed. Cir. 2004); Chiron Corp. v. Genentech, Inc., 363 F.3d 1247, 1253-55 (Fed. Cir. 2004); Enzo
Biochem, Inc. v. Gen-Probe Inc., 285 F.3d 1013, 1020-21 (Fed. Cir. 2002); Purdue Pharma L.P. v. Faulding, Inc.,
230 F.3d 1320, 1323 (Fed. Cir. 2000) (patent’s specification must include an adequate written description; however,
it need not include the exact words of the claim); Lampi Corp. v. Am. Power Prods., Inc., 228 F.3d 1365, 1377-78
(Fed. Cir. 2000); Gentry Gallery, Inc. v. Berkline Corp., 134 F.3d 1473, 1478-80 (Fed. Cir. 1998); Regents of the
Univ. of Cal. v. Eli Lilly & Co., 119 F.3d 1559, 1568 (Fed. Cir. 1997); In re Alton, 76 F.3d 1168, 1172 (Fed. Cir.
1996).


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However, some amount of experimentation to make and use the invention is allowable. In

deciding whether a person having ordinary skill would have to experiment unduly in order to

make and use the invention, you may consider several factors:

             1. the time and cost of any necessary experimentation;

             2. how routine any necessary experimentation is in the field of technology;

             3. whether the ’990 Application discloses specific working examples of the claimed

                 invention;

             4. the amount of guidance presented in the ’990 Application;

             5. the nature and predictability of the field of the technology;

             6. the level of ordinary skill in the field of technology; and

             7. the scope of the claimed invention.

        Not one of these factors alone is dispositive. Rather, you must make your decision

whether or not the degree of experimentation required is undue based upon all of the evidence

presented to you. You should weigh these factors and determine whether or not, in the context of

this invention and the state of the art at the time of the ’990 Application, a person having

ordinary skill would need to experiment unduly to make and use the full scope of the claimed

invention.54

        In deciding whether the ’990 Application satisfies the written description and enablement

requirements for the asserted claims, you must also keep in mind that the ’990 Application need

54
   Adapted from FCBA 4.2; 35 U.S.C. § 112, ¶ 1; Sitrick v. Dreamworks, LLC, 516 F.3d 993, 999 (Fed. Cir. 2008)
(“‘The scope of the claims must be less than or equal to the scope of the enablement’ to ‘ensure[ ] that the public
knowledge is enriched by the patent specification to a degree at least commensurate with the scope of the claims.’”)
(quoting Nat’l Recovery Techs., Inc. v. Magnetic Separation Sys., Inc., 166 F.3d 1190, 1195-96 (Fed. Cir. 1999));
Auto. Techs. Int’l, Inc. v. BMW of N. Am., Inc., 501 F.3d 1274, 1285 (Fed. Cir. 2007) (full scope of claimed
invention must be enabled); AK Steel Corp. v. Sollac, 344 F.3d 1234, 1244 (Fed. Cir. 2003) (enabling the full scope
of each claim is “part of the quid pro quo of the patent bargain”); Union Pac. Res. Co. v. Chesapeake Energy Corp.,
236 F.3d 684, 690-92 (Fed. Cir. 2001); Ajinomoto Co. v. Archer-Daniels-Midland Co., 228 F.3d 1338, 1345-46
(Fed. Cir. 2000); In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988) (factors for determining undue experimentation).



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not disclose, and preferably omits, that which is well-known to those skill in the art and already

available to the public.55

[Note: Inequitable conduct is an equitable issue for the Court to decide. However, a
proposed jury instruction has been provided in the event that the Court wishes to receive
an advisory verdict from the jury.]

                                           INEQUITABLE CONDUCT

           Every applicant for a patent has a duty of candor and good faith in its dealing with the

United States Patent and Trademark Office. The duty of candor and good faith requires that

every individual associated with the filing and prosecution of a patent disclose all information

that the individual known to be material to patentability.56 This is important because the PTO has

limited resources. When a person involved in the prosecution of an application fails to supply

material information or supplies false information or statements and does so with an intent to

deceive the PTO, he or she may commit what is called “inequitable conduct.” When inequitable

conduct occurs during the examination of an application, any patent that issues from that

application is unenforceable as a matter of fairness. This means that despite the existence and

validity of the patent, the patent holder may not prevent others from using the invention covered

by the patent and may not collect damages from those who use the invention that is covered by

the patent.57

           Fox Sports Interactive Media contends that DDB may not enforce the DDB patents

against Fox Sports Interactive Media because individuals substantively involved in the



55
  In re Buchner, 929 F.2d 660, 661 (Fed. Cir. 1991); Hybritech, Inc.v. Monoclonal Antibodies, Inc., 802 F.2d 1367,
1384 (Fed. Cir. 1986), cert. denied, 480 U.S. 947 (1987); Lindemann Maschinenfabrik GMBHv. American Hoist &
Derrick Co., 730 F.2d 1452, 1463 (Fed. Cir. 1984).
56
     37 C.F.R. § 1.56(a); Avid Identification Sys., Inc. v. Crystal Import Corp., 603 F.3d 967, 973 (Fed. Cir. 2010).
57
     FCBA 5.1.



                                                            52
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prosecution of the DDB patents engaged in inequitable conduct before the Patent and Trademark

Office during prosecution of that patent.

        Fox Sports Interactive Media must prove inequitable conduct by clear and convincing

evidence. To determine whether the DDB patents were obtained through inequitable conduct,

you must determine (1) whether an individual or individuals having this duty of candor and good

faith withheld or misrepresented information, or submitted false information, that was material to

the examination of the patent application, and (2) that this individual or individuals acted with

the specific intent to deceive or mislead the Patent and Trademark Office. 58

        A.       Materiality

        If you find that an individual having this duty of good faith and candor withheld

information when applying for the DDB patents, you must determine whether that information

was material information.

        Information is material if “but for” the individual’s failure to disclose the information

during the prosecution, the Patent and Trademark Office would not have allowed one or more

claims of the DDB patents. In other words, information is material if it is more likely than not

that the Patent and Trademark office would not have allowed one or more claims of the DDB

patents if it had been aware of the withheld information. To decide whether the Patent and

Trademark Office would not have allowed one or more claims if it had been aware of the

withheld information, you should use the broadest reasonable interpretation of the claim or

claims under consideration and apply the more likely than not standard, as the Patent and

Trademark Office would have done.
58
   AIPLA 10.1; Therasense, Inc. v. Becton Dickinson & Co., 649 F.3d 1276 (Fed. Cir. 2011) (en banc); Avid
Identification Sys., Inc. v. Crystal Import Corp., 603 F.3d 967, 973-74 (Fed. Cir. 2010); eSpeed, Inc. v. BrokerTec
USA, L.L.C., 480 F.3d 1129, 1135 (Fed. Cir. 2007); Digital Control, Inc. v. Charles Mach. Works, 437 F.3d 1309,
1313 (Fed. Cir. 2006); Purdue Pharma L.P. v. Endo Pharm., Inc., 438 F.3d 1123, 1128 (Fed. Cir. 2006); Bristol-
Myers Squibb Co. v. Rhone-Poulenc Rorer, Inc., 326 F.3d 1226, 1233 (Fed. Cir. 2003).



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           If you decide that the Patent and Trademark Office would not have allowed one or more

claims applying this standard, then the individual’s failure to disclose the information during the

prosecution is material, whether or not you also find the claims invalid under the standards for

finding claims invalid in this lawsuit. This does not change Fox Sports Interactive Media’s

overall burden, however, to prove its inequitable conduct defense by clear and convincing

evidence.59

           B.       Intent to Deceive

           If you determine that material information was withheld from or misrepresented to the

Patent and Trademark Office, you must next determine whether this was done with a specific

intent to deceive or mislead the Patent and Trademark Office. Intent to deceive the Patent and

Trademark Office may be found from direct evidence. You may also infer deceptive intent from

the facts and surrounding circumstances. For example, when a patentee has knowingly

misrepresented a material fact or submitted false material information, and when the natural

consequence of those intentional acts would be to deceive the Patent and Trademark Office, an

inference of intent to deceive the Patent and Trademark Office may be appropriate.

           When the individual having a duty of good faith and candor has deliberately withheld or

misrepresented known material information from the Patent and Trademark Office, you may find

that he or she acted with intent to deceive the Patent and Trademark Office if and only if that is

the single most reasonable inference to be drawn from the evidence. In order to find intent to

deceive, you need to determine that the individual knew of the withheld or misrepresented

information, knew the information was material, and made a deliberate and conscious decision to

withhold or misrepresent the information. In determining whether there was an intent to deceive


59
     AIPLA 10.2; Therasense, Inc. v. Becton Dickinson & Co., 649 F.3d 1276 (Fed. Cir. 2011) (en banc).



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or mislead the Patent and Trademark Office, you should consider the totality of the

circumstances, including the nature of the conduct and whether that conduct occurred in good

faith.60

[Note: Laches is an equitable issue for the Court to decide. However, a proposed jury
instruction has been provided in the event that the Court wishes to receive an advisory
verdict from the jury.]

                                                    LACHES

           Fox Sports Interactive Media contends that DDB is not entitled to recover damages for

acts that occurred before it filed this lawsuit because: (1) DDB delayed filing the lawsuit for an

unreasonably long and inexcusable period of time, and (2) Fox Sports Interactive Media has been

or will be prejudiced in a significant way to due to DDB’s delay in filing the lawsuit. This is

referred to as laches. Fox Sports Interactive Media must prove delay and prejudice by a

preponderance of the evidence.

           If suit was delayed for six years, a presumption arises that the delay was unreasonable

and unjustified, and that material prejudice resulted. The presumption shifts the burden of proof

to DDB to come forward with evidence to prove that the delay was justified or that material

prejudice did not result, and if DDB presents such evidence, the burden of proving laches

remains with Fox Sports Interactive Media. Laches may also be found for delays of less than six

years if there is proof of unreasonably long and unjustifiable delay causing material prejudice to

Fox Sports Interactive Media. Whether DDB’s delay was unreasonably long and unjustified is a

question that must be answered by considering the facts and circumstances as they existed during


60
  AIPLA 10.3; Therasense, Inc. v. Becton Dickinson & Co., 649 F.3d 1276 (Fed. Cir. 2011)(en banc); Larson Mfg.
Co. of S.D. v. Aluminart Prods. Ltd., 559 F.3d 1317, 1340-41 (Fed. Cir. 2009); Star Scientific, Inc. v. R.J. Reynolds
Tobacco Co., 537 F.3d 1357, 1366, 1368 (Fed. Cir. 2008); eSpeed, Inc. v. BrokerTec USA, L.L.C., 480 F.3d 1129,
1137-38 (Fed. Cir. 2007); Purdue Pharma L.P. v. Endo Pharm. Inc., 438 F. 3d 1123, 1133-34 (Fed. Cir. 2006);
PerSeptive Biosystems, Inc. v. Pharmacia Biotech, Inc., 225 F.3d 1315, 1319-20 (Fed. Cir. 2000); Molins PLC v.
Textron, Inc., 48 F.3d 1172, 1180-82 (Fed. Cir. 1995).



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the period of delay. There is no minimum amount of delay required to establish laches. Facts and

circumstances that can justify a long delay can include:

              1. being involved in negotiations with Fox Sports Interactive Media during the

                  period of delay;

              2. poverty or illness during the period of delay;

              3. being involved in a dispute about ownership of the patent during the period of

                  delay; or

              4. minimal amounts of allegedly infringing activity by Fox Sports Interactive Media

                  during the period of delay.

              5. being involved in other litigation during the period of delay;

           Other litigation by itself is not necessarily an adequate excuse for delay in filing suit.

However, you may consider whether DDB in fact notified Fox Sports Interactive Media that it

was engaged in other litigation during the delay and whether it notified Fox Sports Interactive

Media that it intended to sue Fox Sports Interactive Media after concluding its other litigation.61

In light of DDB’s prior communications with Fox Sports Interactive Media, you may assume

that such a notice was required by DDB to Fox Sports Interactive Media.62

           If DDB fails to show a legally-recognized excuse for its delay, or if DDB fails to provide

any evidence that Fox Sports Interactive Media did not suffer prejudice, then you must presume




61
  Hall v. Aqua Queen Mfg., Inc., 93 F.3d 1548, 1554 (Fed. Cir. 1996); A.C. Aukerman Co. v. R.L. Chaides Constr.
Co., 960 F.2d 1020, 1039 (Fed. Cir. 1992) (“[T]here can be no rigid requirement in judging a laches defense that
such notice must be given. If a defendant is, for example, aware of the litigation from other sources, it would place
form over substance to require a specific notice. . . . Where there is prior contact, the overall equities may require
appropriate notice, as in Jamesbury. However, a notice requirement is not to be rigidly imposed as the district court
did in this case.”).
62
     Id.



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that DDB’s delay was unreasonable and that Fox Sports Interactive Media suffered material

prejudice because of DDB’s delay in bringing this lawsuit.63

         If you find unreasonable and unjustified delay occurred, to find laches, you must also

determine if Fox Sports Interactive Media suffered material prejudice as a result of the delay.

Prejudice to Fox Sports Interactive Media can be evidentiary or economic. Whether Fox Sports

Interactive Media suffered evidentiary prejudice is a question that must be answered by

evaluating whether delay in filing this case resulted in Fox Sports Interactive Media not being

able to present a full and fair defense on the merits to DDB’s infringement claim. Not being able

to present a full and fair defense on the merits to an infringement claim can occur due to loss of

important records, the death or impairment of an important witness, the unreliability of memories

about important events because they occurred in the distant past, or other similar types of things.

Economic prejudice is determined by whether or not Fox Sports Interactive Media changed its

economic position in a significant way during the period of delay resulting in losses beyond

merely paying for infringement (such as if Fox Sports Interactive Media could have switched to

a noninfringing product if sued earlier), and also whether Fox Sports Interactive Media’s losses

as a result of that change in economic position likely would have been avoided if DDB had filed

this lawsuit sooner. In all scenarios though, the ultimate determination of whether laches should

apply in this case is a question of fairness, given all the facts and circumstances. Thus, you may

find that laches does not apply if there is no evidence establishing each of the three elements

noted above (unreasonable delay, lack of excuse or justification, and significant prejudice). You




63
  Hall v. Aqua Queen Mfg., Inc., 93 F.3d 1548, 1544 (Fed. Cir. 1996) (“Importantly, where the patentee fails to
meet this burden of production by coming forward with either affirmative evidence of a lack of prejudice or a legally
cognizable excuse for its delay in filing suit, the two facts of unreasonable delay and prejudice ‘must be inferred.’”).



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may also find that even though all of the elements of laches have been proved, it should not, in

fairness, apply, given all the facts and circumstances in this case.64

[Note: Equitable estoppel is an equitable issue for the Court to decide. However, a
proposed jury instruction has been provided in the event that the Court wishes to receive
an advisory verdict from the jury.]

                                        EQUITABLE ESTOPPEL

        The owner of a patent may forfeit its right to any relief from an alleged infringer where:

(1) the patent holder communicates something in a misleading way to the allegedly infringing

party about the lack of infringement or about not being sued, (2) the alleged infringer relies upon

the misleading communication from the patent holder, and (3) the alleged infringer will be

materially harmed if the patent holder is allowed to assert a claim relating to the issue that is

inconsistent with the patent holder’s prior misleading communication. This is referred to as

“equitable estoppel” and it is a defense that Fox Sports Interactive Media contends precludes any

recovery by DDB in this lawsuit. Fox Sports Interactive Media must prove each of these

elements by a preponderance of the evidence, but even if all these elements are proven, equitable

estoppel need not be found if such a finding would be unfair in light of the conduct of the parties.

        Fox Sports Interactive Media contends that DDB made a misleading communication

about its intent to sue Fox Sports Interactive Media for patent infringement by failing to sue Fox

Sports Interactive Media from 2003 until it filed this lawsuit in 2011 and otherwise not

contacting Fox Sports Interactive Media from 2004 until it filed this lawsuit in 2011. A

communication may be made through written or spoken words, conduct, silence, or a

combination of words, conduct, or silence. Conduct may include action or inaction. Whether in

fact DDB communicated with Fox Sports Interactive Media about its intent to sue Fox Sports


64
  FCBA 5.2; 35 U.S.C. § 282; Gasser Chair Co. v. Infanti Chair Mfg. Corp., 60 F.3d 770, 773-74 (Fed. Cir. 1995);
A.C. Aukerman Co. v. R.L. Chaides Constr. Co., 960 F.2d 1020, 1039 (Fed. Cir. 1992)banc).


                                                       58
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Interactive Media for patent infringement prior to the filing of this lawsuit, and whether that

communication, if you find there to have been any, was misleading, are questions that must be

answered by considering the facts and circumstances as they existed at the time.

        Material harm to Fox Sports Interactive Media can be evidentiary or economic in form.

Whether Fox Sports Interactive Media suffered evidentiary harm is a question that must be

answered by evaluating whether Fox Sports Interactive Media will be unable to present a full and

fair defense on the merits of DDB’s claims. Not being able to present a full and fair defense on

the merits of DDB’s claims can occur due to the loss of important records, the death or

impairment of important witnesses, the unreliability of memories about important events because

they occurred in the distant past, or other similar types of things. Whether Fox Sports Interactive

Media suffered economic prejudice is a question that must be answered by evaluating whether

Fox Sports Interactive Media changed its economic position as a result of its reliance on any

misleading communication from DDB about its intent to sue Fox Sports Interactive Media for

patent infringement, resulting in losses beyond merely paying for infringement (such as if Fox

Sports Interactive Media could have switched to a noninfringing product if sued earlier) and

whether losses as a result of any change in economic position could have been avoided.65

                                              EXHAUSTION

        Fox Sports Interactive Media also contends that DDB cannot recover damages for a

portion of Fox Sports Interactive Media’s GameTrax products because DDB has exhausted its

patent rights. Specifically, Fox Sports Interactive Media asserts that its NFL GameTrax products

are covered by DDB’s license to the NFL. In order to prevail on its defense of patent exhaustion


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   FCBA 5.3; 35 U.S.C. § 282; Gasser Chair Co. v. Infanti Chair Mfg. Corp., 60 F.3d 770 (Fed. Cir. 1995) (to
establish equitable estoppel, one must show reliance on patentee’s misleading conduct); A.C. Aukerman Co. v. R.L.
Chaides Constr. Co., 960 F.2d 1020 (Fed. Cir. 1992) (en banc).



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with respect to its NFL GameTrax products, Fox Sports Interactive Media must prove by a

preponderance of the evidence that:

            1. The NFL was authorized to sell live-event data feeds describing plays in NFL

                 football games under the terms of a license agreement between DDB and the

                 NFL;

            2. STATS receives the NFL licensed feed, and that STATS directly transmits that

                 feed to Fox Sports Interactive Media; and

            3. The live event data feeds received from STATS substantially embody the claims

                 of the DDB Patents.

If you find that the DDB has authorized the sale of live-event data feeds to STATS, that STATS

directly transmits the live-event data feeds to Fox Sports Interactive Media, and the live-event

data feeds substantially embody the claims of the DDB Patents, then you must find for Fox

Sports Interactive Media on its exhaustion defense.66 If Fox Sports Interactive Media does not

prove these three elements, you must reject Fox Sports Interactive Media’s affirmative

exhaustion defense.

                                                  DAMAGES

I.      DAMAGES – INTRODUCTION

        If you find that Fox Sports Interactive Media infringed any valid claim of the DDB

patents, you must then consider what amount of damages to award DDB. I will now instruct you

about the measure of damages. By instructing you on damages, I am not suggesting which party

should win this case, on any issue.



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  Quanta Computer, Inc. v. LG Elecs., Inc., 553 U.S. 617 (2008); United States v. Univis Lens Co., 316 U.S. 241,
248-52 (1942); Transcore, LP v. Elec. Transaction Consultants Corp., 563 F.3d 1271, 1274-77 (Fed. Cir. 2009).



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        The damages you award must be adequate to compensate DDB for the infringement but

in no event less than a reasonable royalty. They are not meant to punish an infringer. Your

damages award, if you reach this issue, should put DDB in approximately the same financial

position that it would have been in had the infringement not occurred.

        DDB has the burden to establish the amount of its damages by a preponderance of the

evidence. In other words, you should award only those damages that DDB establishes that it

more likely than not suffered.

        There are different types of damages that a patent owner may be entitled to recover. In

this case, DDB seeks a reasonable royalty. A reasonable royalty is defined as the money amount

DDB and Fox Sports Interactive Media would have agreed upon as a fee for use of the invention

at the time prior to when infringement began.67

II.     DAMAGES – REASONABLE ROYALTY – DEFINITION

        A royalty is a payment made to a patent holder in exchange for the right to make use or

sell the claimed invention. A reasonable royalty is the amount of royalty payment that a patent

holder and the infringer would have agreed to in a hypothetical negotiation taking place at a time

prior to when the infringement first began. In considering this hypothetical negotiation, you

should focus on what the expectations of the patent holder and the infringer would have been had

they entered into an agreement at that time, and had they acted reasonably in their negotiations.

In determining this, you must assume that both parties believed the patent was valid and

infringed and the patent holder and infringer were willing to enter into an agreement. The


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  FCBA, Patent Damages Instruction B.6.1 (modified); 35 U.S.C. §284; Dow Chem. Co. v. Mee Indus., Inc., 341
F.3d 11370, 1381-82 (Fed. Cir. 2003); Integra Lifesciences I, Ltd. v. Merck KGaA, 331 F.3d 860, 870 (Fed. Cir.
2003); Grain Processing Corp. v. Am. Maize-Prods. Co., 185 F.3d 1341, 1349 (Fed. Cir. 1999); Maxwell v. J.
Baker, Inc., 86 F.3d 1098, 1108-09 (Fed. Cir. 1996); Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538, 1545 (Fed. Cir.
1995)(en banc); Lam Inc. v. Johns-Manville Corp., 718 F.2d 1056, 1065 (Fed. Cir. 1983).



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reasonable royalty you determine must be a royalty that would have resulted from the

hypothetical negotiation, and not simply a royalty either party would have preferred. Evidence of

things that happened after the infringement first began can be considered in evaluating the

reasonable royalty only to the extent that the evidence aids in assessing what royalty would have

resulted from the hypothetical negotiation. Although evidence of the actual profits an alleged

infringer made may be used to determine the anticipated profits at the time of the hypothetical

negotiation, the royalty may not be limited or increased based on the actual profits the alleged

infringer made.68

III.         DAMAGES – REASONABLE ROYALTY – RELEVANT FACTORS

             In determining the reasonable royalty, you should consider all the facts known and

available to the parties at the time the infringement began. Some of the kinds of factors that you

may consider in making your determination are:


       (1)      The royalties received by the patentee for the licensing of the patent-in-suit, proving
                or tending to prove an established royalty.

       (2)      The rates paid by the licensee for the use of other patents comparable to the patents-
                in-suit.

       (3)      The nature and scope of the license, as exclusive or nonexclusive, or as restricted or
                nonrestricted in terms of territory or with respect to whom the manufactured product
                may be sold.




68
   FCBA, Patent Damages Instruction B.6.6; Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292 (Fed. Cir. 2011);
ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860 (Fed. Cir. 2010)(per curiam); Lucent Techs., Inc. v. Gateway, Inc.,
580 F.3d 1301, 1340 (Fed. Cir. 2009) cert. denied, 130 S. Ct. 3324 (2010); Golight, Inc. v. Wal-Mart Stores, Inc.,
355 F.3d 1327, 1338 (Fed. Cir. 2004); Maxwell v. J. Baker, Inc., 86 F.3d 1098, 1108-10 (Fed. Cir. 1996); Mahurkar
v. C.R. Bard, Inc., 79 F.3d 1572, 1579-81 (Fed. Cir. 1996); Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538, 1545 (Fed.
Cir. 1995)(en banc); Georgia-Pacific Corp. v. U.S. Plywood Corp. 318 F.Supp. 1116, 1120 (S.D.N.Y. 1970); United
States Court of Appeals Fifth Judicial Circuit Pattern Jury Instructions, Instructions 9.8 (1999); Interactive Pictures
Corp. v. Infinite Pictures, Inc., 274 F.3d 1371 (Fed. Cir. 2001); Trans-World Mfg. Corp. v. Al Nyman & Sons, Inc.,
750 F.2d 1552 (Fed. Cir. 1984).



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(4)     The licensor’s established policy and marketing program to maintain his or her patent
        monopoly by not licensing others to use the invention or by granting licenses under
        special conditions designed to preserve that monopoly.

(5)     The commercial relationship between the licensor and licensee, such as whether they
        are competitors in the same territory in the same line of business, or whether they are
        inventor and promoter.

(6)     The effect of selling the patented specialty in promoting sales of other products of the
        licensee, the existing value of the invention to the licensor as a generator of sales of
        his nonpatented items, and the extent of such derivative or convoyed sales.

(7)     The duration of the patent and the term of the license.

(8)     The established profitability of the product made under the patents, its commercial
        success, and its current popularity.

(9)     The utility and advantages of the patented property over the old modes or devices, if
        any, that had been used for working out similar results.

(10)    The nature of the patented invention, the character of the commercial embodiment of
        it as owned and produced by the licensor, and the benefits to those who have used the
        invention.

(11)    The extent to which the infringer has made use of the invention and any evidence
        probative of the value of that use.

(12)    The portion of the profit or of the selling price that may be customary in the particular
        business or in comparable business to allow for the use of the invention or analogous
        inventions.

(13)    The portion of the realizable profits that should be credited to the invention as
        distinguished from nonpatented elements, the manufacturing process, business risks,
        or significant features or improvements added by the infringer.

(14)    The opinion and testimony of qualified experts.

(15)    The amount that a licensor (such as DDB) and a licensee (such as Fox Sports
        Interactive Media) would have agreed upon (at the time infringement began) if both
        had been reasonably and voluntarily trying to reach an agreement; that is, the amount
        which a prudent licensee – who desired, as business proposition, to obtain a license to
        manufacture and sell a particular article embodying the patented invention – would
        have been willing to pay as a royalty and yet be able to make a reasonable profit and
        which amount would have been acceptable by a prudent patentee who was willing to
        grant a license.




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No one factor is dispositive and you can and should consider the evidence that has been

presented to you in this case on each of these factors. You may also consider any other factors

which in your mind would have increased or decreased the royalty the infringer would have been

willing to pay and the patent holder would have been willing to accept, acting as normally

prudent business people. The final factor establishes the framework which you should use in

determining a reasonable royalty, that is, the payment that would have resulted from a

negotiation between the patent holder and the infringer taking place at a time prior to when the

infringement began.69

IV.     DATE OF COMMENCEMENT OF DAMAGES

        In determining the amount of damages, you must determine when the damages began.

Damages commence on the date that Fox Sports Interactive Media has both infringed and been

notified of the alleged infringement of the DDB patents.

        You must determine the date Fox Sports Interactive Media received actual notice of the

DDB patents and the specific products alleged to infringe. Actual notice means that DDB

communicated to Fox Sports Interactive Media a specific charge of infringement of the DDB

patents by a specific accused product. The filing of the complaint in this case qualifies as actual

notice, so the damages period begins no later than October 27, 2011. However, DDB claims to

have provided actual notice prior to the filing of the complaint, in September 2003. DDB has the

burden of establishing that it is more probable than not Fox Sports Interactive Media received

notice of infringement on September 2003.

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   FCBA, Patent Damages Instruction B.6.7; Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292 (Fed. Cir. 2011);
ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860 (Fed. Cir. 2010)(per curiam); Lucent Techs., Inc. v. Gateway, Inc.,
580 F.3d 1301, 1340 (Fed. Cir. 2009) cert. denied, 130 S. Ct. 3324 (2010); Golight, Inc. v. Wal-Mart Stores, Inc.,
355 F.3d 1327, 1338 (Fed. Cir. 2004); Maxwell v. J. Baker, Inc., 86 F.3d 1098, 1108-10 (Fed. Cir. 1996); Mahurkar
v. C.R. Bard, Inc., 79 F.3d 1572, 1579-81 (Fed. Cir. 1996); Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538, 1545 (Fed.
Cir. 1995)(en banc); Georgia-Pacific Corp. v. U.S. Plywood Corp. 318 F.Supp. 1116, 1120 (S.D.N.Y. 1970); United
States Court of Appeals Fifth Judicial Circuit Pattern Jury Instructions, Instructions 9.8 (1999).



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        If you find that the date of actual notice was prior to October 27, 2005, then you should

treat October 27, 2005 as the beginning of the damages period. If you find that the date of actual

notice was after October 27, 2005, then you should treat the date of actual notice as the

beginning of the damages period.70 [The damages period ends on June 25, 2010].

                                      CLOSING INSTRUCTIONS

        It is your sworn duty as jurors to discuss the case with one another in an effort to reach

agreement if you can do so. Each of you must decide the case for yourself, but only after full

consideration of the evidence with the other members of the jury. While you are discussing the

case, do not hesitate to reexamine your own opinion and change your mind if you become

convinced that you are wrong. However, do not give up your honest beliefs solely because the

others think differently or merely to finish the case.

        Do not let bias, prejudice, or sympathy play any part in your deliberations. Remember

that in a very real way you are the judges—judges of the facts. Your only interest is to seek the

truth from the evidence in the case. If there is publicity about this trial, you must ignore it. Do

not read anything or listen to any TV or radio programs about the case.

        During your deliberations, you must not communicate with or provide any information to

anyone by any means about this case. You may not use any electronic device or media, such as a

telephone, cell phone, smart phone, iPhone, Blackberry or computer; the internet, any internet

service, or any text or instant messaging service; or any internet chat room, blog, or website such

as Facebook, My Space, Linkedln, YouTube or Twitter, to communicate to anyone any

information about this case or to conduct any research about this case until I accept your verdict.

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   FCBA, Patent Damages Instruction B.6.8; 35 U.S.C. §§286, 287; Crystal Semiconductor Corp. v. Tritech
Microelectronics Int’l, Inc., 246 F.3d 1336 (Fed. Cir. 2001); Nike Inc. v. Wal-Mart Stores, 138 F.3d 1437, 1443-44
(Fed. Cir. 1998); Am. Med. Sys. v. Med. Eng’g Corp., 6 F.3d 1523, 1534 (Fed. Cir. 1993); Devices for Med., Inc. v.
Boehl, 822 F.2d 1062, 1066 (Fed. Cir. 1987).



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       This concludes my instructions on the law in this case. You will now hear the lawyers'

closing arguments. You will then retire to the jury room to deliberate on your verdict. You may

take this charge with you as well as any exhibits which the court has admitted into evidence. You

should first select a Presiding Juror or Foreman and then begin your deliberations. If you recess

during your deliberations, you must follow the instructions the court has previously given

concerning your conduct during the trial. Your duty is to fill in the form answering the jury

questions to reflect your unanimous verdict. Your Presiding Juror must then sign the form.

Unless I direct you otherwise, do not reveal your answers until such time as you are discharged.

You must never disclose to anyone, not even to me, your numerical division on any question.

       If you want to communicate with me at any time, please give a written message to the

Court Security Officer, who will bring it to me. I will then respond as promptly as possible either

in writing or by meeting with you in the courtroom. I will always first show the lawyers your

question and my response before I answer your question.

       After you have reached a verdict, you are not required to talk with anyone about the case

unless I order you to do so.




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